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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

                                  18-cr-204 (NGG)


                           UNITED STATES OF AMERICA

                                      -against-

                                 KEITH RANIERE,

                                                    Defendant.



                      LETTERS OF SUPPORT ACCOMPANYING
                          SENTENCING MEMORANDUM
                         ON BEHALF OF KEITH RANIERE



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         Exhibit Number                  Name of Person Submitting Letter

            Exhibit 1              Veronica Alvarez (with accompanying translation)

            Exhibit 2                                 Angelica

            Exhibit 3                                Raul Arias

            Exhibit 4                              Diego Asunsolo

            Exhibit 5                             Eduardo Asunsolo

            Exhibit 6               Juan Asunsalo (with accompanying translation)

            Exhibit 7                               Michael Baker

            Exhibit 8                                Leon Bojalil

            Exhibit 9                               Natalia Bojalil

            Exhibit 10                              Edgar Boone

            Exhibit 11                              Damon Brink

            Exhibit 12

            Exhibit 13                              Esther Carlson

            Exhibit 14                           Sanjay Chakravorty

            Exhibit 15                           Suneel Chakravorty

            Exhibit 16                             Theo Chiappone

            Exhibit 17                              Abril Cigarroa

            Exhibit 18                              Nicole Clyne

            Exhibit 19                                 Danielle

            Exhibit 20                            Álvaro de la Garza

            Exhibit 21                            James Del Negro

            Exhibit 22                              Marvin Derks

            Exhibit 23                              Brett Diamond
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            Exhibit 24                                Brian Elliot

            Exhibit 25                               Justin Elliot

            Exhibit 26                                Marc Elliot

            Exhibit 27                            Alejandro Estrada

            Exhibit 28                               Gurpreet Gil

            Exhibit 29                                   Leah

            Exhibit 30                            Lourdes Gonzalez

            Exhibit 31                  Hector (with accompanying translation)

            Exhibit 32              Jorge Hernandez (with accompanying translation)

            Exhibit 33                               Lorena Lara

            Exhibit 34                             Sterling LeBaron

            Exhibit 35                             Wayne LeBaron

            Exhibit 36              Elizabeth Leon (with accompanying translation)

            Exhibit 37                                   Linda

            Exhibit 38                              Jeanette Lopez

            Exhibit 39                             Juan Luis Lopez

            Exhibit 40                               Roy Martina

            Exhibit 41                               Megan Mills

            Exhibit 42                                 Michele

            Exhibit 43                               Jose Ospino

            Exhibit 44                           Chris Pearson-Smith

            Exhibit 45                              Juan Luis Piña

            Exhibit 46                              Brandon Porter

            Exhibit 47                              Lucas Roberts
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            Exhibit 48                             Vanessa Sahagun

            Exhibit 49                                  Sahajo

            Exhibit 50                                 Samantha

            Exhibit 51                             Alberto Sanchez

            Exhibit 52              Patricia Sanchez (with accompanying translation)

            Exhibit 53                               Luis

            Exhibit 54                             Danny Trutmann

            Exhibit 55                               Matt Wakelin

            Exhibit 56                              Franklin Zhumi
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    Honorable Nicholas G. Garaufis
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

    Dear Your Honor

    Mi nombre es Verónica Alvarez, tengo 60 años, soy médico. Soy divorciada, tengo 2
    hijos: uno de 29 y otra de 26 años
    Quiero compartirles mi experiencia sobre mis 2 años en el curso ESP, parte de Nexivm.
    Me acerqué al curso porque en el 2011, conocí a una mujer muy inteligente, pero muy
    conflictiva, estaba sufriendo mucho por muchas cosas, y luego la volví a ver en el 2015
    y la vi cambiada, en resumen muchísimo más tranquila y contenta. Le pregunté lo que
    estaba haciendo y me llamó mucho la atención el programa que estaba tomando.
    Lo 1º que hice fue regalarle a mi hijo de 24 años un año del curso, por haber acabado
    la carrera de ingeniero. Él aceptó entrar al curso y después de 3 meses, empecé a ver
    un cambio en él, sobre todo, que estaba siendo un hombre, mucho más considerado
    con las personas, lo veía mucho más humano y sobre todo más responsable de lo que
    hacía.
    Lo 2º que pasó, es que yo estaba teniendo muchos problemas con un vecino y dejé de
    dormir varias semanas, mi hijo me sugirió que me metiera al curso, tomé un intensivo
    de 5 días; con esos pocos días, entendí rápidamente, muchas cosas de mi vida
    pasada, soy una mujer de 60 años, que había estado 40 años en terapias buscando
    estar mejor, y que lo iba logrando pero muy lentamente. El curso me fascinó, de
    verdad cambió mi vida y decidí tomar el curso de un año y fui realmente mucho más
    feliz con mi vida, me daba cuenta de todo lo que yo hacía y me volví también mucho
    más considerada con los demás, más responsable de mis actos y dejé de culpar al
    mundo entero de lo que me pasaba. En ese año, conocí al mayor número de personas
    amorosas, que jamás había conocido.
    Lo 3º que hice fue invitar a mi hija al curso, también le ha cambiado la vida.
    Los 3 nos fuimos 10 días a Veweek en agosto del 2017 y viví una de las experiencias
    más maravillosas con una comunidad que tenía otros principios: todos queremos un
    mundo mejor, qué podemos hacer para lograrlo, nadie toma nada que no es suyo y
    todos consideramos mucho más al otro ser humano que está en frente de nosotros.
    Todo el hotel estaba para nosotros, un día olvidé mi computadora en el gimnasio y
    nadie la tomó, ni me la robaron, podías estar tranquilo de que estabas en un lugar
    seguro, que si tenías algún problema, cualquier te podía ayudar, de verdad todos eran
    mucho más amorosos. Había clases de fotografía, matemáticas, ciencia, ejercicio,
    música. Aquí vi a Keith por primera vez, lo admiré profundamente por las herramientas
    que nos había dado, son herramientas sencillas, que seguiré usando toda mi vida.
    Ahora, les puedo afirmar que somos una familia que hemos logrado mejorar
    infinitamente nuestra relación, somos mucho más amorosos, sabemos que somos
    humanos con muchos defectos, y que queremos estar mejor. La herramientas que nos
    dio ESP, parte de NEXIUM, me han ayudado de una manera que siempre les voy a
    estar agradecidas. Ojalá todo el mundo pudiera tener algo de esto en su vida, estoy

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    convencida de que el mundo sería mucho mejor para todos los seres vivos que lo
    habitamos.
    Con esta carta me gustaría ayudar a Keith, porque siempre voy a estar en deuda con él
    por todo lo que me ayudó a mí personalmente y a toda mi familia con todas estas
    herramientas.

    Gracias por su atención




    Verónica Alvarez
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      Honorable Nicholas G. Garaufis
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201


      Dear your honor
      My name is Verónica Alvarez, I am 60 years old, I am a doctor. I am divorced, I have 2
      children: one 29 and the other 26.
      I want to share with you my experience about my 2 years in the ESP course, part of Nexivm.

      I approached the course because in 2011, I met a very intelligent woman, but very
      conflictive, I was suffering a lot from many things, and then I saw her again in 2015
      and I saw her changed, in short much calmer and happier. I asked him what
      I was doing and the program I was taking caught my attention.
      The first thing I did was to give my 24-year-old son a year of the course, for having finished
      the engineering career. He agreed to enter the course and after 3 months, I started to see
      a change in him, especially, that he was being a man, much more considerate
      with people, I saw him as much more human and above all more responsible for what he did.

      The 2nd thing that happened is that I was having a lot of problems with a neighbor and I stopped
      sleep several weeks, my son suggested that I join the course, I took an intensive 5 days; with those
      few days, I quickly understood many things in my life past, I am a 60-year-old woman, who had been
      in therapy for 40 years looking to be better, and that he was achieving it but very slowly. The course
      fascinated me, it really changed my life and I decided to take the one year course and I was really
      much more happy with my life, I realized everything I did and I became very more considerate of
      others, more responsible for my actions and I stopped blaming the whole world of what happened
      to me. In that year, I met the largest number of people amorous, who had never known.

      The 3rd thing I did was invite my daughter to the course, it has also changed her life. The 3 of us
      went to Veweek for 10 days in August 2017 and I had one of the experiences more wonderful with
      a community that had other principles: we all want a better world, what can we do to achieve it,
      nobody takes anything that is not theirs and we all consider the other human being in front of us
      much more.

      The whole hotel was for us, one day I forgot my computer in the gym and no one took it, nor was it
      stolen from me, you could rest assured that you were in a place sure, if you had a problem, anyone
      could help you, really they were all much more loving. There were classes in photography, math,
      science, exercise, music. Here I saw Keith for the first time, I deeply admired him for the tools that
      he had given us, they are simple tools, which I will continue to use all my life.

      Now, I can tell you that we are a family that we have managed to infinitely improve our relationship,
      we are much more loving, we know that we are humans with many defects, and we want to be
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      better. The tools that ESP gave us, part of NEXIUM, they have helped me in a way that I will always
      be grateful. I wish everyone could have some of this in their life, I'm convinced that the world would
      be much better for all living bings than we inhabit.

      With this letter I would like to help Keith, because I will always be in his debt for everything that
      helped me personally and my whole family with all these tools.

      Thanks for your attention


      [Illegible Signature]

      Veronica Alvarez
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Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

Dear Judge Garaufis,

My name is Diego Asúnsolo Ramírez. I have a Marketing Degree from one of the top Universities in Mexico. I
am an entrepreneur and have created different companies on a variety of industries; Marketing Media Company,
Creative Agency, Ecommerce, retail and photography businesses. I spend my time living between New York
City and Mexico City. I love sports, personal growth and I’m a family man.

I met Mr. Keith Raniere through his ESP curriculum in 2010 and personally met him around the beginning of
2013. The best and most simple way I can describe him is as very warm, intelligent, respectful, and mindful
man. He is the most honorable person I have ever met in my life. To this day I have never experienced him
being dishonorable to anyone, even to the worst of his adversaries.

Over the years I got more involved in his companies, in particular with ESP, SOP and Ultima. This last one
involved physical trainings to improve body mobility and health. As I mentioned earlier I love sports and I got
to spend more time closer to him while playing volleyball in Albany.

The reason I mention this is because thanks to this companies and being closer to him I now have the best life I
have ever dreamed of and I really believe without his tools it wouldn’t be this way. With ESP I was able to
understand my self in ways I didn’t even know I could, I now have the tools to become the best version of
myself and more. With his goals program I have achieved a level of success in business that I didn’t think was
possible for me, now I have different businesses that are profitable and I didn’t think this was possible in my
30s. I also consider ethics and other people in my everyday decisions. I am a more responsible citizen and care
more for other humans. SOP is my favorite thing, it has shown me how I can become a responsible man and
uphold the most noble principles in the world, while being part of a team of men that have become brothers to
me. Ultima is one of the things I am most thankful to Mr. Raniere for. When in college I had a severe knee
injury, many doctors told me that due to the complexity of my injury and how my surgery had gone I was not
going to be able to ever run again, I was likely going to walk with a limp and would lose about 35% of my legs
flexibility. Any sports other than swimming were basically ruled out. After many years of physical rehab and
many physicians I gave up on ever recovering from this injury. With Mr Raniere’s tools I was able to recover
100% of mobility and I’ve been back at sports and competing for over 5 years now.

The way I experience he conducts himself it’s admirable. With his actions I now believe its possible to be noble
and honorable, even at the worse of circumstances. I have plenty of moments with him were he has exhibited
this traits. To mention a few, at one of his SOP trainings; we had committed to get 100 men to be at the training
in order to have it and a few days before it started we were short, we involved a few men in a way that wasn’t
good to join the training as we needed them to complete 100 men and have the training with him. Mr Raniere
wasn’t involved in this decision, however when he found out he immediately stopped the training and
apologized to all attendants because he consider himself responsible of what had happened. Not only that, he
refunded a few hundred thousand dollars for expenses and training costs to all the attendants and gave us a free
previous training that same weekend. He explained the situation and answered questions to all of us who had
them. He took full responsibility of the failure and the way he did it was the biggest lesson on responsibility for
me. Another time at the volleyball court, I was playing with a few other friends and Mr. Raniere was playing at
the next court. One of my friends turned his ankle, Mr. Raniere noticed it and immediately came to help him to
make sure he was ok. He also advised him on how to treat the injury for its quickest recovery. Helping him
seemed to be the most important thing at the moment for him. That had a huge impact on me because I’ve been
involved in sports all my life and saw things like this happening all the time, and I know I had never cared so
much for anyone like he did that day.                                                                      EXHIBIT

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It is with a lot of pain that I’ve seen what has happened over the last 3 years. I wanted to support him during
trial but I was advised not to since it could be harmful for my well-being, even to show up at the trial wasn’t a
good idea. I could’ve shared my experience on the SOP weekend for example, which I believe is very different
than what was shared during trial and there’s many other situations that would’ve countered other people’s
testimonies.

In my personal case to this day I have been damaged on my business, with        my family, friends and my social
life, as I was mentioned in different articles from a hate blog and different   main media streams where I was
falsely accused of recruiting women to be sex slaves for Mr. Raniere. This      is absolutely untrue and we have
been defenseless as this main media streams have a huge outreach so             cleaning this dishonor becomes
impossible.

Mr. Raniere’s adversaries have personally harassed me for years now. Through phone calls, messages, etc. This
people write the worst type of things about myself and my family. Some of these people have never even met
me, or have very little experience of me. But they write articles and posts on social media directly attacking my
character and accusing me of the most awful things as if they knew me for years. And the reason for all this
seems to be that I just don’t hate Mr. Raniere.

Again as a result of all this my business has been damaged, I lost important clients and business partners due to
this hate campaign. I have also lost trust with friends and family members who of course read or see this main
media articles and can’t do anything else but be scared of me because of the craziness of the accusations.

Throughout all the case and conviction, I still respect Mr. Raniere in the same way and admire how he has
conducted himself through all this, please allow me to plead to the court with the lowest appropriate sentence
permitted under the law. Thank you for your consideration.

                                                                                        Respectfully,


                                                                                        Diego Asunsolo
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


  Dear Judge Garaufis:
  My name is Eduardo Asunsolo Ramirez. I was born and raised in Mexico. I studied Marketing
  at one of the best Colleges in Mexico on a soccer scholarship. I came to New York 12 years
  ago to study theater and to work as an actor. I am now a professional interpreter, I have
  translated for immigration court and for the political asylum offices numerous times. I own a
  family translation business, and work as a commercial voice over artist recording radio and
  tv commercials. I am married, I have a 17-month-old boy, and a baby girl on the way.
  I met Keith Raniere 10 years ago through ESP. Throughout the last decade we’ve played
  hundreds and hundreds of games of volleyball together, he’s been my teacher, my business
  partner, and my friend. I’ve taken numerous educational trainings that he has designed and
  imparted: Jness, SOP, ESP, Ultima, Ethicist, etc. This education has been by far the most
  valuable investment of my life; it has helped my personal and professional life in many great
  ways. I am confident to say that I wouldn’t be an entrepreneur, and a loving father and
  husband, if it wasn’t for my interactions with him and with his work. The different things that
  thousands of people have achieved thanks to his tools are remarkable, some of them
  historically remarkable. I personally knew and in some cases worked with a group of people
  with Tourettes syndrome, and I watched them work their tics away with the talk therapy
  himself and Nancy designed. I was amazed at how Keith never wanted to call this project a
  cure or even science yet, he was always thoughtful and humble about the results he
  achieved.
  In 2017, a group of my closest friends invited me to what sounded very much like a
  defamation campaign against Keith. The justification was that they had found information
  about a secret sorority, and that it was so disgusting to them, that it was worth it to make the
  group look like a sex trafficking ring to the media. They literally said they were going to make
  this look like India's mom was going to save her daughter. When I informed Keith about what
  was coming after him, he never entertained the idea of stopping this group of people with
  harsh legal tools, which was what I suggested; instead his only focus became to try and have
  a dialogue with this group, to try to prevent them from doing something that would be
  harmful to everyone, especially the group itself. I had heard him speak about non-
  violent resistance before, but to see him let himself go to jail instead of engaging in violence,
  was one of the most wonderful things to watch. I believe he did the same at trial through his
  defense; as you can see in the transcripts, they did not use dishonor even once. I think the
  injustice committed to him and his co-defendants will affect American history for the good. I

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  tried to participate in this case and to counter the many lies I saw the witnesses tell. It's hard
  to watch people lie on the stand when you knew they were going to do it. The reason I did
  not end up being a witness was because everyone around me told me I would be in legal
  trouble if I did. Some of my friends were personally threatened by the prosecutors. Still, my
  hope is that people can see that sometimes people are convicted on prejudice rather than
  evidence. This is not news to myself or to any other minority, for this has been done to us for
  a century.
  Keith is in my experience a true humanitarian, a man who conducts himself with a balance
  between complete kindness and a strict code of honor. He maintains this balance in every
  area of his life, no matter the time of the day or how hard his circumstances become. I
  developed a lot of respect for him through the years of interacting with his work and with
  him as a friend, but this respect increased even more when I saw him deal with the deaths of
  life long friends of his, he mourned deeply while still leading strongly. In ten years of
  spending many hours with him, he never spoke a dishonorable word about anyone, including
  adversaries who I saw attacking his name and his life. Even today, all the way from his cell, he
  has been able to help my family with a very difficult situation. I’m always amazed at the fact
  that he drops anything to help another person, even when his circumstances are far worse
  than most people’s.
  Because I grew up in the north of Mexico, I’ve been witness to the most cruel violence. It is
  a day to day thing for many Mexicans. I will forever be grateful to Keith Raniere for
  producing a peace movement in my country, a movement that created hope for millions of
  Mexicans. When one experiences the community projects that he has designed, one can
  see how humans can be great. V week for example, is the most marvelous display of
  human excellence, art, community and education. I can understand why people like the
  Dalai Lama and Elan Musk have expressed interest in his work.
  For this and many other reasons, I keep the deepest honor and respect for Keith Raniere. And
  I ask you to give him the most humane sentence you can find within your possibilities. I don’t
  ask you to see him as a good man, for that wouldn’t be right, I think that if I had the
  information you have in front of you and nothing else, I would probably think exactly as you
  do. I only ask you to treat him with the humanity this world needs.
  Kind Regards,


  Eduardo Asunsolo Ramirez
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                                              Torreón, Coahuila, México a 25 de noviembre de 2019.

   C. JUEZ NICHOLAS G. GARAUFIS

   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS

   DISTRITO ESTE DE NUEVA YORK. 11201

   Re: United State v. Keith Ranieri, 18 Cr.204 (NGG)

   P R E S E N T E.-

   Su Señoría, mi nombre es Juan Manuel Asúnsolo González, soy Mexicano, Mayor de edad, de
   Profesión Licenciado en Derecho, Originario y Residente en Torreón, Coahuila, México, con
   domicilio ubicado en Avenida Juárez número 4901 Oriente, Colonia Villa California en la Ciudad de
   Torreón, Coahuila, tengo 67 años de edad y 39 años ejerciendo mi Profesión de Abogado, en
   ocasiones como Funcionario Público, de los cuales destacan: Actuario del Poder Judicial de
   Coahuila, Administrador Local Jurídico de la Secretaria de Hacienda y Crédito Publico con sede en
   Piedras Negras, Coahuila, México y Director del Patrimonio y Tenencia de la Tierra del Municipio
   de Torreón, Coahuila, con el debido respeto me dirijo a su Señoría para exponer:

   Que mediante este escrito, vengo a solicitar de su Señoría su benignidad al momento de emitir
   sentencia en contra de KEITH RANIERI, lo anterior en virtud de que aun cuando no lo conozco de
   forma personal, lo conozco a través de videos, medios electrónicos y comentarios verbales de
   familiares y amigos que lo conocen personalmente, lo anterior es así ya que soy miembro de dos
   de los programas de superación personal creados por el Señor Keith, como lo son SOCITY OF
   PROTECTORS Y EXECUTIVE SUCCESS PROGRAM, en el que tome dos intensivos, el primero del 21 al
   23 de marzo de 2014, y el segundo del 05 al 09 de diciembre de 2014, respectivamente y de los
   cuales obtuve un paso hacia adelante en el conocimiento de mí mismo, con mayor autoestima,
   consiguiendo éxito exponencial, tanto personal como profesional, todo gracias a su método y su
   movimiento SOP, una coalición basada en carácter y honor, creados por el Señor Keith y sus
   valores basados en el compromiso, responsabilidad y honestidad de un grupo de personas, que de
   forma pacífica podemos cambiar el mundo, haciéndolo un mejor lugar para vivir, iniciando ese
   cambio primero en uno mismo y después ese cambio se verá reflejado en los demás, agregando
   que hasta la fecha sigo perteneciendo a un grupo de personas que creemos firmemente en estos
   valores y seguimos trabajando con éxito en nuestro crecimiento como hombres comprometidos,
   responsables y honestos.

   Hago de manifiesto a su Señoría que, gracias a todo lo anterior y al Seño KEITH RANIERI, en la
   actualidad tanto el suscrito como mi familia hemos cambiado significativamente en cuanto a
   personas comprometidas a crecer en carácter, compromiso y honorabilidad, lo anterior en virtud
   de que mi esposa ROSA MARIA RAMIREZ y mis hijos JUAN MANUEL, EDUARDO Y DIEGO de
   apellidos ASUNSOLO RAMIRES, también forman parte de la agrupación de referencia y son
   miembros comprometidos con los valores transmitiendo por el Señor KEITH RANIERI y también
   han tomado diversos cursos intensivos creados por Él, cabe señalar que dos de mis hijos citados

                                                                                                   EXHIBIT

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   con anterioridad EDUARDO Y DIEGO lo conocen de manera personal y llevan una sincera amistad
   con Él y de los cuales estamos orgullosos mi esposa y el suscrito ya que gracias a los cursos
   intensivos y su amistad, en la actualidad son hombres jóvenes exitosos, con carácter y
   responsabilidad, compasivos y honestos, todo lo cual ha contribuido a que mi familia sea más
   unida, feliz y amorosa, cabe señalar que recientemente mi hijo EDUARDO, nos ha regalado la dicha
   de ser abuelos y que nuestro Nieto JULIAN ELLIS ya crece con los beneficios de los valores del
   Señor KEITH RANIERI, dado que está creciendo en un ambiente de libertad y amado por todos
   nosotros su familia, educado con esmero y con un método distinto al tradicional, lo cual se
   advierte inmediatamente al verlo y estar con Él, puesto que refleja tranquilidad, amistad, simpatía
   y sobretodo mucho amor y felicidad.

   Es pertinente señalar a su Señoría las afectaciones sufridas por toda mi familia y en lo personal ya
   que a raíz de la detención y desprestigio de los medios de defunción de que fue objeto el Señor
   KEITH RANIERI, mis hijos EDUARDO Y DIEGO se vieron obligados a cerrar su oficina y quedarse sin
   trabajo y en lo personal la perdida de negocios con clientes que se retiraron de mi despacho,
   situaciones adversas que gracias a las herramientas obtenidas en los programas del Señor
   RANIERI fueron superadas por mis hijos con nuevos negocios que son exitosos.

   Honorable Juez lo manifestado en los párrafos anteriores tienen la intención de presentarle
   realmente quien es El Señor KEITH RANIERI, así como solicitarle con todo respeto, que al momento
   de dictar sentencia en su contra sea bondadoso y benigno con Él, ya que en lo personal y en
   nombre de mi familia le hacemos saber que en ningún momento hemos dudado de Él ni de su
   honorabilidad y que a la fecha nunca creímos en la campaña de desprestigio de los medios de
   comunicación de los que fue objeto, motivos por los cuales le escribo la presente suplica de
   clemencia y misericordia, agradeciéndole de antemano las atenciones que se sirva tener a esta
   petición, quedando a sus apreciables órdenes.

   Otorgo mi consentimiento para que esta carta sea publicada en todos sus términos.



                                             ATENTAMENTE

                           LICENCIADO JUAN MANUEL ASUNSOLO GONZALEZ.
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   Torreón, Coahuila, Mexico on November 25, 2019.

   C. JUDGE NICHOLAS G. GARAUFIS
   UNITED STATES DISTRICT COURT
   EAST DISTRICT OF NEW YORK. 11201
   Re: United State v. Keith Ranieri, 18 Cr. 204 (NGG)
   PRESENT.-

   Your Honor, my name is Juan Manuel Asúnsolo González, I am Mexican, of legal
   age, by profession, Graduated in Law, Original and Resident in Torreón, Coahuila,
   Mexico, with address located at Avenida Juárez number 4901 Oriente, Colonia
   Villa California in the City from Torreón, Coahuila, I am 67 years old and 39 years
   old practicing my Lawyer Profession, sometimes as a Public Official, of which the
   following stand out: Actuary of the Judicial Power of Coahuila, Local Legal
   Administrator of the Ministry of Finance and Public Credit with headquarters in
   Piedras Negras, Coahuila, Mexico and Director of the Heritage and Land of the
   Municipality of Torreón, Coahuila, with due respect I address your Honor to state:
   That by means of this letter, I come to ask your Honor for your benignity at the time
   of issuing a judgment against KEITH RANIERI, the foregoing because even though
   I do not know him personally, I do know him through videos, electronic media and
   comments verbally from family and friends who know him personally, the above is
   the case since I am a member of two of the personal improvement programs
   created by Mr. Keith, such as SOCIETY OF PROTECTORS AND EXECUTIVE
   SUCCESS PROGRAM, in which I took two intensives, the first from March 21 to
   23, 2014, and the second from December 05 to 09, 2014, respectively and of
   which I obtained a step forward in the knowledge of myself, with greater self-
   esteem, achieving exponential success, both personal as a professional, all thanks
   to his method and his SOP movement, a coalition based on character and honor,
   created by Mr. Keith and his values based on the commitment, responsibility and
   honesty of a group of people, who can peacefully change the world, making it a
   better place to live, initiating that change first in oneself and then that change will
   be reflected in others, adding that to date I still belong to a group of people that we
   firmly believe in these values and continue to work successfully in our growth as
   committed, responsible and honest men.

   I make it clear to your honor that, thanks to all of the above and to Mr. KEITH
   RANIERI, at present both the undersigned and my family have changed
   significantly in terms of people committed to growing in character, commitment and
   honor, the above by virtue of that my wife ROSA MARIA RAMIREZ and my
   children JUAN MANUEL, EDUARDO AND DIEGO with surnames ASUNSOLO
   RAMIREZ, are also part of the reference group and are members committed to the
   values transmitted by Mr. KEITH RANIERI and have also taken various intensive
   courses created by him, it should be noted that two of my children mentioned
   above EDUARDO AND DIEGO know him personally and have a sincere friendship
   with him and of which my wife and the undersigned are proud because thanks to
   the intensive courses and their friendship, today they are successful young men,
   with character and responsibility, compassionate and honest, all of which have
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   contributed to my family being more honest, happy and loving, it should be noted
   that recently my son EDUARDO has given us the joy of being grandparents and
   that our grandson is already growing with the benefits of these values , since he is
   growing up in an environment of freedom and loved by all of us, his family,
   educated with care and with a different method from the traditional one, which is
   immediately noticed when seeing him and being with him, since it reflects
   tranquility, friendship, sympathy and above all a lot of love and happiness..
   It is pertinent to point out to your honor the effects suffered by my entire family and
   personally, since as a result of the arrest and defamation to which Mr.KEITH
   RANIERI was subjected, my children EDUARDO AND DIEGO were forced to close
   his office and being unemployed and personally the loss of business with clients
   who withdrew from my office, adverse situations that thanks to the tools obtained in
   Mr. RANIERI's programs were overcome by my children with new businesses that
   are successful.
   Honorable Judge what has been stated in the previous paragraphs intends to
   present you really who is Mr. KEITH RANIERI, as well as request him with all
   respect, that at the time of passing sentence against him be kind and benign with
   Him, since personally and On behalf of my family we let you know that at no time
   have we doubted him or his honorability and that to date we have never believed in
   the smear campaign of the media to which he was subjected, for which reason I
   am writing the present plea for clemency and mercy, thanking you in advance for
   the attentions given to this request, remaining at your appreciable orders.
   I grant my consent for this letter to be published in all its terms.

   ATTENTIVELY
   JUAN MANUEL ASUNSOLO GONZALEZ
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                                                                    Honorable Nicholas G. Garaufis
                                                                       United States District Judge
                                                                       Eastern District of New York
                                                                          225 Cadman Plaza East
                                                                        Brooklyn, New York 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

 Dear Judge Garaufis,

 Thank you for taking the time to review my letter. I am writing this as an honest account of my
 friendship with Keith Raniere.

 My name is Mike Baker. I was a member of NXIVM for 15 years. I was one of the founding 4
 members of Society of Protectors. I played volleyball with Keith 3 nights a week, built an a
 cappella group out of NXIVM members, and spent most of the first 10 years completely
 absorbed in what our community represented to me; growth, thoughtfulness and kindness. I
 hold my time in ESP, SOP, and the JNESS tracks as a great period of growth in my life. The
 coaches and proctors are people who I respect for their dedication to helping others during
 those years. I was not a paid coach or proctor. Now I’m married with 3 children and manage a
 small company in Upstate New York.

 I believe that many people had a very positive outlook on the courses and the community in
 general. However, the aggressive trolling of former members will probably limit the responses
 you’ll receive. Lewd and disrespectful posts have been made on my wife’s social media
 accounts. My children have been excluded from social events based on us being “Those
 NXIVM people”. Staff has chosen to leave companies that I managed based on my association,
 and I’ve offered to resign to protect the entities that I’ve worked for when the media pressure
 was heavier in the past. I’ve had the FBI show up at my home, or insist we meet near my place
 of work with no forewarning. Parts of my network have cut me out (only some of which I could
 directly attribute, to be fair). Probably worst of all, I now struggle to connect with my parents and
 extended family on the subject because I am viewed as brainwashed or compromised in some
 manner.

 The curriculum of ESP, Jness, and SOP has impacted my life dramatically. I am a much better
 Father and Husband than I believe I ever could have been. I believe many of us in the program
 were so close because we watched each other achieve more in our lives, become more vibrant
 human beings, treat our families and friends with more respect and happiness. These are
 things I witnessed firsthand, and things I am proud to have been a part of.

 In my eyes, Keith was a wonderful person surrounded by wonderful people. I could easily name
 dozens of people on both sides of this issue that have affected my life greatly, and to which I

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 owe a tremendous gratitude. All people that I have held in high esteem, and knew intimately.
 They went out of their way for others - for me - and significantly gave of their time and effort.

 I knew Keith for my entire time within the company. We met early on and he began helping me
 personally, athletically, and musically. He coached me through thousands of reps in the gym
 and on the volleyball court. I would show him musical compositions I was working on, and he
 would share thoughts or encourage deeper expression, or to refine specific phrases. He was
 meticulous. Keith was there to hold my newborn child when my wife and I were brand new
 parents with barely enough money to get by. He stood by me when I was barely standing
 myself, was there for me at some of my most difficult times, and I don’t believe he had anything
 to gain from our friendship other than enjoying the friendship itself.

 Watching Keith with others, my view was that he was always trying to help. In the years of
 media campaigns against the organization, I never heard him utter a word of disrespect against
 anyone. I believe I saw constant, persistent, exuberant goodwill, and that he was voting for
 people’s growth and well-being. I admired how he did it, and still try to emulate the level of care
 that I believe I witnessed.

 Keith often gave me feedback that it mattered “how” I did things; that he knew I was going for
 good things, but that sometimes I was bull-headed and stubborn in my process. He offered
 practical advice on how to pull myself out of this, how to grow past it. I admire and respect that
 trait and hope to be that for those around me. I witnessed him do this over and over with people
 in the organization. I have spent hours and hours in his library talking, playing music, or
 practicing my volleyball setting while he plays Rachmaninov. These are cherished times with a
 friend amongst friends. Moving, calm, and thoughtful times. Many of the things Keith told me
 over the years have stuck with me and I think about him often with gratitude and deep respect.

 I have searched inside, combed memories over and over, yet I fail to find flaw, mistrust, or
 hatred in my more than 15 year friendship with Mr. Keith Raniere.

 Your Honor, I hope I have respected The Court’s efforts with this writing, and have stayed true
 to the intent of your request.

 Thank you for your time.

 Sincerely,




 Michael Baker
 September 20th, 2020
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re: United States v. Keith Raniere, 18 Cr.204 (NGG)


 Dear Judge:

 My experience with ESP

 I took the first course (ESP) after I graduated, I was 24. It took me just a couple of hours to
 realize it was something different, it had a deep understanding about human behavior. It was
 shocking to me that after a few modules and a couple hours of work, I wasn't struggling with an
 issue I had work for 5 years with a psychiatrist (and couldn't solve) It was so clear to me the
 value it had brought to my life that I kept going every single week throughout a year.

 After a year, I decided to enroll again and my mother wanted to join too. She was impressed with
 the positive results she saw on me. Then my little sister joined too. Now, my whole family has
 taken ESP and I see the privilege and benefits it has brought to all of us. We have better
 relations, we can solve things in a better way and it help us start a journey of personal growth.

 Today, 5 years after my first interaction with ESP, I'm convinced that thanks to this tools, my life
 and the life of my family has improved in a way I wouldn't have thought possible. It's not that I
 don't struggle with things any more, I do, but a the same time I know I have the tools to
 overcome anything.

 This are the reasons why I ask you to consider the shortest possible sentence

 Sincerely,
 Leon Felipe Bojalil




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Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

Dear Your Honor, I present myself, my name is Natalia Bojalil and I am an entrepreneur
from Mexico City. I studied Fashion Design in the University Iberoamericana.

I met Keith Raniere tree years ago in Albany. It was his birthday and the community made
him a birthday cake during V Week. That was the first time I saw him in person, I didn’t get
to talk to him but I saw him interacting with people for a little bit from the distance. I believe I
got to know him better trough his curriculums and videos since I took some Nxivm classes
such as Ethos and Origins, and I also did Jness curriculum.

My experience of Keith is that he is an intelligent, kind, mindful and joyful person. Because
of his curriculum I really believe that he wants to help people in every aspect of their life, I
believe he has dedicated his life to understanding human behavior and building tools to
teach them, so people can understand themselves better, at least I can say that’s what
happened for me. Thanks to his tools I’ve been able to understand myself better and have a
happier life.

His curriculum has impacted my life in a very positive way. When I was little, I always
wanted to have my own business, but I thought that this was just a dream and that it wasn’t
possible for me. When I took Ethos, (and especially using its goals setting tools) I realized
that I could achieve my dream step by step; using his tools, to overcome limitations that
were stopping me from doing it. Now I can proudly say that I have my own business.

Thanks to the curriculum and tools that Keith has created I have a better relationship with
my family. Now, we understand each other like never before and we are building a beautiful
family that understand and helps each other.

Despite his conviction, I will always be thankful with him because of the huge positive impact
that my life has had thanks to his tools. I plead the court to impose the lowest appropriate
sentence.



                                                                                            Natalia Bojalil

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 Hon. Nicholas G. Garaufis
 United States District Judge
 United States District Court
 Eastern District of New York
 271 Cadman Plaza East
 Brooklyn, New York 11201

 August 30th,2020

 Dear Judge Garaufis,

 My intent in writing this letter is to help expand the court’s perspective on Keith Raniere’s
 character as you evaluate his sentence.

 What I have seen in the last two years in the media and later in court, is that Keith has been
 mostly shown as a type of psychopathic monster who only did bad things in the world, and who
 always had bad intent in everything he did.

 My experience of him as a person, and leader of an organization, is the opposite of what some
 people have expressed about him, and how the media has portrayed him. It’s been a horrible
 experience to see how people hate him so much, when he has helped thousands of people have
 a better life by the tools he developed and with his personal interactions.

 Below I’ll share with you some personal experiences that hopefully can help you get a more
 complete view of him as a human being.

 Helping People

 In all the years that I have known him I would say that helping others is one of his highest values.
 Every time I saw him, either casually or in one of the many organizational events, he would always
 take the time to connect with the community and support them in all he could.

 It seems to me that he always wanted to give more to others than what he received.

 For many years, I saw him invest his time on someone who was highly disrespectful to him and
 many others. I could never understand why he would be so patient and loving with someone who
 was so entitled and mean. But he did. He wanted to help others, even those who were rejected
 by most, for being obnoxious.

 When one of my brothers had a problem, I shared with him what was going on. He took the time
 to help me help him. And then followed up for a while asking me how he was doing.

 I also remember someone who wanted to become a better runner. I saw him for months take
 the time to help them, give them feedback and talk to them, without ever charging them a dime.

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 Humane & Honorable Decision Making

 In all the years that I have known him and all the decisions that I brought to him regarding
 personal or business matters, he would always bring the highest principle in mind and see how
 we could uphold it, even if that would affect personal comfort, financial benefit or other possible
 superficial aspects.

 For example, one day I was thinking of making some changes to the way we evaluated the ranks
 in ESP. And he took the matter at hand and then came up with an answer that took into account
 what would happen generations later. This long-term view was characteristic of him.

 In my experience he would deliberately take time to evaluate his decisions, especially those that
 involved other people. He would share with me how he would take time specifically to evaluate
 his decisions using all the emotional and mind fortitude available to him.

 One of the things that I saw him do often, something that has been a source of a lot of anger and
 even hatred towards him, is that he would not give attention to someone if they had not earned
 it in his view, or if they had done something destructive. For example, there was this person who
 I experienced as very angry and irresponsible. This person would want to see him and spend time
 with him, but he would not, not until this person changed the behavioral destructive pattern they
 were doing. This person got very upset with him, threatened to cause a lot of trouble, and did.


 Not conventional

 If there’s something that defines him is that he’s not conventional and would often not follow
 societal rules for their own sake.

 For example: He seemed to have a very different sleep schedule than most people. He would
 often sleep during the day and be awake at night.

 Many of his meetings he would do walking instead of sitting at a desk.

 I think he was more understood or accepted by women in general, which may be why they
 were/are attracted to him. To men, to see women be attracted to him would sometimes create
 jealousy, anger and even hate.

 There have been many times when I did not understand his decisions. Often my not
 understanding had to do with him not deciding just to do something for some material benefit,
 but for a higher value that involved the values of humanity. For example: There were people in
 the company that would not do their jobs very well or to a standard that would help many of us
 run the company more efficiently and effectively. But he would not fire them right away just
 because of that. He would give many opportunities to change, to grow, to step up. His highest
 value didn’t seem to be making money, but supporting the person’s development.
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 Honorable Sportsmanship

 In the almost twenty years since I have known him, before he was taken to jail, he was the most
 consistent person I have seen to show up consistently to his commitments. One of these
 commitments was playing volleyball with the community. In these games, every time there was
 doubt in how a ball was called, he would always ask to stop the play until we made sure that all
 involved were in agreement with the decision. If there was no consensus then the play would be
 repeated to honor the perspective of everyone involved.

 Alcohol & Vegetarian

 In all the years that I have known him I’ve never seen him drink alcohol nor does he support that
 habit. He is a believer of being fully present and fully aware of your choices at all moments.

 I have always seen him uphold a vegetarian diet. He shared many times with others that he was
 vegetarian mainly because he took a vow of non-violence and killing an animal to eat when his
 personal survival was not in question, would go against that value.


 Emotional States

 I have never seen him being angry or snap at anyone. I think he is the only person I have known
 in my life that I’ve never seen angry.

 He was always centered, even at times when I saw him deeply sad by losses of a loved one. For
 example, when a good friend of ours died, I saw him very sad for weeks. When his partner died,
 he was grieving deeply until the last time I saw him. I could see it. And even then, he would show
 up to volleyball and play his games with a positive state.


 Supportive

 When a mutual friend of ours got married, I saw him support them to start their new life together.

 When I was making the decision to step out of the organization in 2009 and become Emeritus,
 he did not want me to do so. He wanted me to be part of the Executive Board. I chose not to, and
 even when I made a choice that he did not agree with, he respected my decision and even helped
 me with the transition I was going through, and into a new stage in my life.

 At times, he and I disagreed in what needed to be done and how it needed to be done. But these
 disagreements were always respectful from both sides and he was supportive of me as a person,
 even when we would not see eye to eye on other matters.
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 One of the things I find amazing about him, is that he invested a lot in people. He would invest
 his time, his efforts and abilities to help someone become more capable, have a better
 experience of life, and be able to start developing companies that related to what they wanted
 to do. At times some of these people would just quit, at which time, I never saw him complain.

 Through the years he taught me many things, he helped me resolve inner issues and he was
 supportive of me and my family. He never asked anything in return, never. One time when I asked
 him what I could do for him in exchange for his time, he just said “pay if forward”. And I have
 done so ever since.


 Ethical

 One of the principles that I saw him talk about more often and consider in his decision-making
 process, were his ethics. The principles that he held dear and by which he chooses to live.

 Being ethical is not easy in this world, and I have seen him uphold his principles even at great
 personal cost to him.

 For example, he had the chance to speak dishonorably about the people accusing him in the
 media and in court. But he chose not to do it. I also assume he also had a lot of private, personal
 and unflattering information about some of the people who accused him, that he if he brought
 forth, would have helped his legal case and his public image. And yet, he has chosen not to speak
 about them.


 Humanitarian

 In my experience with him, people were always the most important. More important that
 material things, riches, fame, etc.

 He would say often: The person is more important than the company’s profits. And that’s how
 he would lead. Often with negative financial effects.

 Personally, I can tell you that he has always been a supportive and good friend. And I have seen
 him again and again be the same to others throughout good times and bad times.

 In my experience, he is a very mindful person, who takes the time and puts the effort to deeply
 evaluate decisions for the benefit of all, especially those that involve many people. I’ve never
 seen him being reckless.

 Through the personal growth tools that he developed, he has helped me and thousands of other
 people to have a better experience of life, to have more inner peace, to have more joy, to value
 and appreciate life, and to be more successful.
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 In summary, in my experience Keith has been a kind, hardworking humanitarian, and ethical
 human being, who developed some amazing personal growth tools that thousands of people
 have used to better their life.

 I hope this helps in your evaluation of his sentence.


 Kindly



 Edgar Boone
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 Honorable Nicholas G. Garaufis

 United States District Judge

 Eastern District of New York

 225 Cadman Plaza East

 Brooklyn, New York 11201

                           Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

 Dear your honor,

 Before I get into my story, here is a little background about me. I am currently twenty-two years old. I
 have just recently graduated from CU Boulder as part of the class of covid. I graduated with a degree in
 business (entrepreneurship). I grew up in Southern California and have spent my life focusing on my
 academics, hobbies, relationships, and self-development. I learned about Keith from a friend who was
 able to overcome his challenge of Tourette’s Syndrome with Executive Success Programs. I had severe
 Tourette’s starting in first grade and all the way through high school. I had an opportunity to go work
 with NXIVM the summer of my freshman year in college to see if I could overcome my personal issues
 with Tourette’s. I was very skeptical of Keith and his organizations ability to help me at first. The best
 medical professionals I ever received treatment from had felt like medical rookies on the topic of
 Tourette’s. Treatment had helped me to deal/cope with my Tourette’s but never could help me conquer it.
 I decided that I would be willing to take a risk and commit to going to NY if it meant a chance at no
 Tourette’s. Since NXIUM was doing a study on Tourette’s Syndrome, the whole experience was free of
 charge for me. I was able to spend a few weeks attachment free getting to know NXIVM, the customers,
 and many of the members.

 Many people had heard about NXIVM’s courses and the high premiums that people would pay to enroll.
 Now, most people know about NXIUM as the sex cult created by the Vanguard Keith Raniere. I know
 that based on my experiences, I have a unique perspective on NXIUM. This is why I want to share my
 experience with Executive Success Programs (ESP) from my time in NY. During my three weeks in
 Albany, I witnessed an organization where reasonable and sane individuals went. ESP paved a path for
 extreme personal growth. A place where everyone could discuss and strengthen their beliefs and those
 around them. I believe that at the core, this was a design to help people.

 While in Albany, I witnessed many individuals from all walks of life come together and make huge
 improvements in their happiness through the Executive Success Programs curriculum. The tools Keith
 created and shared have the power to help individuals re analyze and be greater than their own personal
 limitations and fears.

 The power of Keith’s tools and community were so strong that my Tourette’s was fully cured within one
 day of using them. Literally in a single moment of realization, My Tourette’s crumbled in my head. A
 card tower of misleading beliefs I had built up in my mind collapsed. When I had Tourette’s, I used to
 violently shake my head in multiple directions and also jerk my neck, blink obsessively, make squeaking
 sounds until I hit the right pitch, kick my own butt with my heels, squeeze together my butt cheeks super
 tight, and bang my elbows on a desk. These were just a few main tics of the many that I delt with during
 my life with Tourette’s. During a conversation with Nancy Salzman and Lauren Salzman as part of the

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 study, I was able to remember an experience that I had on the first day of first grade. The memory was of
 a time that I had broken my arm on the playground right before class started. I was playing on the monkey
 bars when I fell to the ground and broke my arm. Right after this the bell rang for class to start, I hobbled
 off to find my teacher. After telling her my arm hurt (not knowing at the time I broke my arm) she
 challenged me to sit down and not speak. My teacher hadn’t understood the situation at hand and
 misjudged my intention of telling her my arm was hurt. After sharing this memory with Nancy, Nancy
 asked me, “What was the worst part of your teacher not believing you that your arm was hurting.” I
 replied, “It meant that I was not credible!” It was at this moment where that card tower of beliefs I
 mentioned crumbled. Me realizing that I created a belief that I was not credible back in first grade helped
 me realize this was not true. And just like that in a single moment, the majority of my tics were cured.
 Looking back on that memory of first grade, I do remember that later that day I had my first tic which was
 shaking my head back and forth (so wild!). Having such a profound realization was only possible with
 empathy, love, and guidance from the people in NXIUM and the method Keith created. Because of
 NXIUM, I was able to understand my Tourette’s and to have the courage to face the root of my condition
 in order to be healed. Today I walk around with my same body and not a sign of Tourette’s. Every once in
 a while, when I’m telling people my story, I may feel the urge to tic once or twice but that’s all that’s left.

 I didn’t spend a ton of time working directly with Keith. The only time I did spend with Keith was at a
 pickup volleyball game within the organization. I thought he was quite quirky and weird, but seemed
 passionate and friendly. One of the things I noticed while playing pickup was the guy had a sense of
 humor that sometimes revolved around sex jokes. While his humor was sometimes dirty it didn’t seem to
 be a problem or take away from the vibe. I was surprised at the time that he was comfortable making
 these jokes out loud in front of so many people. To me it seemed like he wasn’t worried about being
 judged and was open. During the time playing volleyball, he was very attentive to those around him and
 cared that everyone was involved and having fun. For the game itself, he had created a system of rules
 that were unlike any I had experienced in my years of playing volleyball prior. While some of the rules
 seemed strange and unnecessary, such as (if the ball spins at all when set, it is an invalid set), it didn’t
 seem to take away from the overall fun of the game. Based on my impression of Keith at the time, he
 didn’t seem like someone I would choose to be close friends with. I did however maintain a sense of
 respect for the guy and his work. Personally, I felt that he treated me with respect in all of the few
 interactions we had. He seemed to appreciate anything that I had to say. I observed that he acted this way
 with other people as well. His character was warm and inviting. In all honesty I didn’t feel threatened by
 the guy but still couldn’t help but laugh inside my head about the person he was. His character was just
 one of a kind. Sometimes I even would make fun of him to the new friends that I made during the
 courses. This is not something I am proud about, but it was my honest reaction to meeting Keith. Overall,
 he was entertaining to be around and I enjoyed the company.

 I never worked one on one with Keith during the actual process of overcoming my Tourette’s. Keith did
 however invent a conversational method that did greatly impact my life in a positive way. I overcame a
 few of my greatest personal challenges in a matter of hours. It is hard to put into words the feeling of this
 type of healing. It is no shock to me that he was able to influence so many people so strongly.

 I understand the severity of the actions that took place by Keith under NXIVM’s roof and in no way
 condone or excuse his actions. All I have shared about Keith for this letter is based on what I have
 personally experienced through my lens. It is so sad hearing the stories of the many people whose lives
 were so greatly affected by Keith. It hurts my heart to learn what has become of NXIVM and the
 organization that had helped me so much. I believe that Keith deserves justice. I hope it helps to share my
 story as well as some of my experiences of Keith and NXIUM.

 Thanks,
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Honorable Nicholas G. Garaufis
United States District Judge Eastern District of New York
225 Cadman Plaza East Brooklyn,
New York 11201


Dear Judge Garaufis,

My name is Esther Carlson. I currently own a small business and reside in Sarasota, Florida. I have a Masters
in Education, Bachelor of Fine Arts. I have been a Special Ed teacher, Art teacher, Watercolor Artist, and in
Sales most of my life. I am a mother of four children, whom I homeschooled and sent through private school. I
resided in NY from 2002-2018 where I worked as a Field Trainer and community leader in Executive Success
Programs. I helped build the companies; ESP, Ultima, Ethicist, Ethos and Level II trainings as a sales
representative and worked closely with Ms. Nancy Salzman and Mr. Keith Raniere, helping oversee the
trainings and sales force. I also was a trainer for Jness, the women’s movement. I am a strong advocate for
women and women’s issues. I have worked over ten years to develop, coach, mentor women and members of
our international community. I supervised relationship goals studies, helped couples and advised parents and
families in humanitarian principles embodied in our trainings.

I have known Keith Raniere for 20 years. My first experience with him was on a conference call sponsored by
a colleague from another company. He was portrayed as a man seeking to solve some of the world’s problems.
Thinking that was a pretty lofty idea, I arrogantly asked him, “Why are you doing this?” I was pleasantly
surprised to find a humble and kind response. He said he felt like he had a gift to take complex human
problems and create simple solutions. I was shocked. It wasn’t that what he said was so profound but more so
how he said it. I found him soft spoken, humble and wise in how he answered questions. My first experience
of Executive Success verified the compassion and thoughtfulness that went into the trainings. My initial
reaction to them was of anger as I had just spent over 10 years of my life in college education. Psychology
classes, teacher education and alternative school classes didn’t compare to the quality of education I found in a
2-week program! My first thought was, “Why the hell is this not mainstream and why didn’t anyone tell me
about it!”

When Nancy and Keith were developing the education, sometimes Keith was in the room. He was always
playful and curious about what the participants thought. With my experience in alternative Education, I had a
lot of opinions to share. Once when hushed by a facilitator, Keith interrupted and said, “Let her speak…”. I
was processing the matrix of modules and I saw what all my years in education had missed. I felt like I figured
it out! He sincerely appreciated my perspective. I found the education to be more productive than any previous
educational curriculum I had taken or taught in all of my teaching career. When I went back to work, some of
my clients saw the changes in me and naturally wanted to know what I had been doing. I decided I could help
more people selling ESP.

When my father was in pain from knee surgery complications. At our holiday party Keith took time to see
how he was and in a five-minute conversation, he was able to re-evaluate what to do differently to reduce his
pain. The Society of Protector, SOP Complete trainings, shed some light on what men deal within our culture.
I could see my dad, the Clint Eastwood type, much differently. My dad and I struggled to talk to each other,
but after the training, I had the best conversation of my life with him. I was able to tell him how I felt, that I
love him, and appreciated all he had done. Until I took that training, I was less aware of all that my father had
done for me. I was able to thank him. When he died, I felt like I understood him better. I was deeply grateful
for the conversations I had with him. When one of my children was struggling in school, I asked Keith for
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help. He said, “What expectation of yours are they not meeting?” and I realized how much I was trying to
control and was not listening to what they wanted. I felt more capable of being a better parent from the
trainings and coaching of Nancy Salzman. It helped me a lot. I believe it increased my emotional intelligence
and ability to manage life; the stress of parenting, building a business, and working with people. Albany was
my home, my family and community. It was my place to grow, be more successful in my business, and raise
my children. I am extremely saddened by what has been destroyed in my family and community.

Keith is one of the kindest, most compassionate human beings I have ever met. I benefited greatly from his
leadership, expertise in sales and management. Most impressive of his skill was his ability to help
unsuspecting, well intended people see past their own projections and be able to see people driven by power or
greed. To the casual observer, this was disturbing but to an experienced leader, it was a relief. I discovered
many tormented souls fall prey to these very few, but powerfully destructive people. This case is an example
of this. These are the same individuals that would long to twist my words of good intent in this letter.

The trial and media portrayal of Keith Raniere is not congruent at all with my experience of him. It’s my
opinion that these supposed “victims” were not able to manipulate him, so they acted out and caused problems
where there were none. This bad behavior of women has become culturally acceptable and even encouraged
by men claiming to be protectors. It is one of the biggest crimes against women, to condone this childish
behavior. I am personally offended by it. Many professional women, hard-working, responsible, successful
women, pay the price and yet get treated like children because of those that behave badly. This has become a
sickness in our society and is cloaking the real victims of abuse. The adversaries of Keith are not average
women. They are white women, successful women of privileged, high income earners backgrounds. These are
resourceful, wealthy, entitled women with means, “playing” victim. As a 60-year-old woman who raised four
children, I feel I have earned the right to voice this strong stance. Men give women what they want to shut
them up, so they don’t cause problems. Men do this, even when women are in the wrong. This is a disgrace to
humanity and offensive to women that earn their wealth. This is how men control women. Keith refused to do
this to women. He held women in too high regard to treat them as children.

The government took private information from personal relationships and exploited it to help inspire the hate
campaign against us. If any of the alleged victims were male, no one would care and no men would be trying
to rescue them. The lies of a small group of unhappy women have been used to badgered me, destroy my
business through character assignation, and aggressively harass my children. They told them lies. I was forced
to seek another place to live. I was rejected from renting a home with no explanation; I assumed it was
because of lies from an internet blogger. A very small group of aggressive adversaries used the media and
government to smear our image and harass my family.

Keith’s way of being in the world has been highly misunderstood. But, as intelligent and innovative as he was
with us, he never pushed it on anyone or demanded people follow him. He was a very “hands off” leader.
People went to him for guidance with their ideas and he would do his best to help them. Often, he created
entire trainings for one person that was seeking to overcome some life limitation that many could relate to.

Mr. Raniere created real solutions for people with real problems that afflict our society. He added value to
every person he met and consistently demonstrated the behavior of a thoughtful person. Keith is a scientist. He
dedicated his life to understanding human beings. He understands what philosophers have written about for
centuries that in order to advance a society or a culture it starts from educating the people. “We can’t solve the
current problems of our society with the same thinking we used to create them.” Einstein has been quoted. We
are transformed or destroyed by our own minds. Keith provided a process and created a science for a person to
become aware of this truth and a path to choose it. This outrage of this group of adversaries is proof people
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had a choice to evolve their issues or not. Mr. Raniere has a relentless belief in people to do this. Maybe naïve,
maybe altruistic, but I witnessed his commitment to this with every human being that sought his guidance;
even people that I judged. He still provided for many what they wanted to be-- better people.

No matter how much I might disagree with the troubled people he engaged with or what he did to help them,
there is no evidence in the 15 years of my close experience with him, working with him, helping him with
projects, benefiting from long hours of his guidance, did he ever treat me or others with disrespect or force. It
was just the opposite; always questioning people to think, be mindful and consider others. Never did I see him
take advantage of others. Never. In fact, I experienced his dedication of thought toward deliberate acts of
kindness and generosity of his time and talents even when people were undeserving.

I am devastated and forever haunted that my friend and teacher could be treated and abused in the way he has
been treated. He has been kept from his life partner and own son in the most hurtful way. He’s been separated
from his aging father who longed to see him, and was not told of his COVID death until it was in an Obituary.
His father was my friend and feared for his son. He also was kept from seeing, Keith, his own son because of
how he has been portrayed in the media. The hate against Keith hushed even the closest loved ones, due to the
fear of the government and harm to his family. It’s my belief that this small, bad intended group, chose to use
personal disagreements to destroy his character and all the great things he achieved.

I am embarrassed to be American as it is clear to me that my government supported the hate media in this
case. It is also not new to me that the media contributed to the destruction of a fair trial. I was not protected by
the FBI in this case, I was harassed by them and so was my family—How do I correct this in the world? How
do I heal my family from the lies that a few people have told; twisted and exaggerated even more by a hate
blogger? How do we fix this in our world when a communication tool called “social media” powers it? And, is
also supported by the unsuspecting fools who were used to support it? This case has ripped my family apart
and strained my closest relationships. I am writing to offer an opportunity for maybe some truth to come out
about Keith.

Thank you, Your Honor, for reading my letter and considering what I think. I have great respect for Keith
Raniere, as a leader, a mentor and friend of mine for over 15 years; I request the court consider the magnitude
of what I have shared in this letter. Can we have mercy on a man that has done so much for our world and
clearly dedicated more than two decades of his life to do it? Other than a small group of people, he has been
viewed by thousands as demonstrating honor, character and commitment to upholding the best in people.
People are very scared to share this because of social media attacking them and their loved ones. Please Judge
Garaufis, consider, the same man that has been perceived so negatively by the media and you, is the creator of
the most effective training ever and to consider imposing the lowest appropriate sentence. I request, your
honor, the most lenient sentence the court considers appropriate or the lowest sentence permitted under the
law.

Respectfully Submitted,




Esther Carlson

October 10, 2020
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201
 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)




 Dear Judge Garaufis,

 My name is Sanjay Chakravorty and I’m a software engineer, DJ, pianist,
 composer and entrepreneur living in New York City.

 I’ve never had the privilege of meeting Mr. Keith Raniere in person, but I
 have my own experience of him through taking Nxivm courses - The 5 day
 intensive of Executive Success Programs (ESP) and Society of Protectors
 (SOP). Throughout the different curriculums, I found myself to have an
 enormous amount of respect for Mr. Raniere; and I think of him as a kind,
 intelligent, ethical, empathetic and honorable man.

 The 5 day ESP intensive and the discussions in SOP have been extremely
 helpful in my life; I feel much better equipped to have a more joyful existence
 and deeper connections with others, all the while building character,
 upholding my own set of principles and values and propagating these where it
 seems appropriate. I owe this demeanor to Mr. Keith Raniere, and I know that
 there are many other men and women I’ve spoken to that have a similar
 experience to mine and feel positively impacted.

 With all of this, I ask that the court please impose the lowest appropriate
 sentence, permitted under the law, to Mr. Keith Raniere.



 Sincerely,




 Sanjay Chakravorty
 12 / 24 / 2019




                                                                                        EXHIBIT

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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East Brooklyn, NY 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

 Judge Garaufis:

 My name is Suneel Chakravorty. My family is from India and I am a first-generation American. I
 grew up in South Florida. In my family, education was one of the highest values. I studied hard,
 became county valedictorian and was admitted to Harvard College, where I majored in
 mathematics. After college, I worked as a software engineer before starting my own company. I
 co-founded a software consulting firm in NYC, which grew in just a few years to be the
 technology innovation partner for a Fortune 100 company, a national healthcare network, a top
 hedge fund, and several startups.

 My first conversation with Keith Raniere was in prison, after his trial. At the time, he and I were
 complete strangers. Now I count him as one of my friends. I am writing this letter to you, your
 honor, to provide my perspective on Keith’s character, for consideration in your sentencing
 decision.

 I first learned of Executive Success Programs in August 2016, when a fellow Harvard graduate
 told me about it and invited me to take it. He told me the company and its founder had very
 bad press but that the program was very effective for entrepreneurs. He explained that the
 program focused on helping the participant to overcome limiting behaviors and patterns. This
 sounded interesting so I signed up. Then later I Googled the company. I was initially very
 disturbed at what I read about Keith and about NXIVM, but most of the articles seemed to be
 personal blog posts and I have known political friends who were written fallaciously about in
 the media. In addition, the person who enrolled me seemed smart and kind, so I decided I
 would see for myself.

 In October 2016, I took my first five-day intensive in an office building in midtown Manhattan.
 There were about 20 participants, from seasoned businesspeople to college graduates and
 everyone with a unique motivation for being at the training, from figuring out their next career
 move to achieving better work-life balance to finding inner peace. There were certain practices
 that I found strange, like referring to Keith as “Vanguard” in the classes. I later came to
 understand that there were benign, rational explanations for those things. Also, I took Tae
 Kwon Do growing up and had no issue with calling my instructor “Master.” I believe that if there
 were no bad press, I would not have interpreted those practices as negatively as I initially did.

 What I learned about emotions and my own patterns of behavior was invaluable and I left the
 training energized to build my company and so much less stressed. As the weeks went by, I
 noticed more and more benefits. With my family, where I used to be controlling and tense, I
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 became relaxed and able to enjoy time with them more. Our family trips became even more
 precious and memorable. With my company, I began to push harder, get more projects, and
 grow my team faster than I thought possible.

 Over the next few months, I completed my sixteen-day intensive and took an additional training
 called Mobius. On some occasions, I was asked by some of the coaches if I had anyone I wanted
 to invite to take a training. Although I did have people in mind, I did not feel comfortable
 publicly associating myself with NXIVM because of its negative reputation, so I told the coaches
 that I did not want to invite people and they completely understood. I did not feel any pressure
 to invite anyone and no one asked me about it thereafter. However, at a certain point, I felt
 that the classes of ESP had helped me so much, to be a more effective founder, a more
 compassionate brother, and a more grateful son that my desire to share this with others
 exceeded my fear of what people would think and I invited a few friends to take the course.

 I became a coach in June of 2017 at the “coach summit” where many leaders in ESP decided to
 leave the organization. To me, this was strange because I never thought of ESP as something
 one would join or leave. To me, they were just classes you could take or not take. I continued to
 be a coach in the New York City ESP Center over the next few months as articles began to come
 out about “sex slaves” and “sex cult.” I found the articles seriously alarming, but they did not
 contain any evidence, seemed to be defamatory in nature, and were the opposite of my
 experience as a coach in NYC. All we did was have classes in midtown Manhattan, nothing more
 exciting than that, and I was seeing firsthand how the ESP classes were helping people in my
 family and in my company.

 This contradiction between what I was experiencing and what was being written only grew
 more extreme. When the NY Times article came out in October 2017 about NXIVM being a
 “cult” that branded women, I received a flurry of emails from friends who knew I was a coach in
 the program and were concerned for my well-being and safety. In reality, that day was like any
 other for me. I had normal business meetings with my clients and my team and in the evening
 met with my ESP coach about my 3-month fitness goal. My reality was so mundane compared
 to what the media was writing. I also had the opportunity to get to know the subjects of some
 of those articles, people like Lauren Salzman and Allison Mack. I found them to be intelligent,
 strong-willed and caring women who were motivated to help others. Lauren had coached me to
 become more productive in managing my employees and Allison had taught me how to
 become more expressive and less reserved. At the same time that they were being described as
 bad people, I was getting to know them and finding them to be the opposite.

 Because my personal experiences had been so positive and I had not been able to find evidence
 of what was being alleged, I decided to stay involved even during an international media storm.
 To me, ESP did not seem like a sinister organization with the hidden agenda of serving Keith
 Raniere. It seemed to me to be a personal growth company filled with good, earnest people
 who were being intentionally maligned. I was raised to stand up for good people, especially
 when they are being attacked, and that is why I chose to continue as a coach up util the
 companies closed in May 2018.
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 Almost a year later, I chose to attend Keith’s trial because I had seen so much untruth and
 sensationalism in the media coverage about NXIVM and its family of companies that I was
 hoping that the legal process might be more data-driven and logical. Because I had sold my
 business by that time, I had the flexibility to attend the trial as often as I wanted, and I decided
 to go every day. I found that the narrative being presented about NXIVM was the same one
 that was in the media. The witnesses, some of whom I was familiar with, had changed their
 perspective completely and were presenting information that I could have contradicted with
 my experience as well as my experience of them even just a year prior. Although the types of
 crimes that Keith was convicted of are very serious and I do not in any way condone acts like
 sex trafficking and forced labor, I believe that Keith is innocent of these crimes and that he was
 convicted not because of evidence but because of how much hate he was painted with. It was
 an emotional trial and it would be hard for any person to not feel that Keith is a bad person,
 based only on what the witnesses said.

 After the trial, I felt restless. I felt I had just observed a serious injustice and wanted to help, so I
 decided to visit Keith in prison and asked him how I could help.

 Over the course of the past year, I have had a hundred hours of phone calls and dozens of in-
 person visitations with Keith as we have been working closely together on several initiatives
 that not only could help separate the prejudice from the law in his case but could help many
 others in the future who encounter prejudice in our legal system. Some of these
 communications have been published in court filings. I believe that if your honor were to hear
 them in context, you would find them to be upstanding and well-intentioned.

 In every interaction that I have had with Keith, he has been kind, understanding and patient.
 Sometimes he is my fellow math nerd. Other times, he is a mentor to me. Other times yet, he is
 just my friend. He has never ordered me to do anything or been demanding or punishing. On
 the contrary, when I have tried to help but have come up short, he has always been
 understanding and grateful. I also feel that he has treated me like a true friend. Although our
 prison calls are short and there are many pressing matters with his case to discuss, he would
 always find some time to tell me a joke, discuss math topics with me, just tell me how he was
 feeling or ask me if I was doing okay.

 For more than a year, I have only seen Keith try to use his situation to the benefit of others.
 Almost on a daily basis, he would call me with an idea of how to highlight the injustice in his
 situation to bring attention to the broader issues going on. He rarely, if ever, emphasized saving
 himself. At times, he expressed that he was not sure if he would ever be free but at least if his
 situation can help others, then he would feel happy.

 Unfortunately, in July 2020, my communications with Keith were blocked by the prison. I have
 appealed the decision but never gotten any explanation or a response.
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 I have talked at length with Keith about his situation, the case and the NXIVM community and
 to me he seems very sorry for all that has happened, because is the leader of that community,
 but at the same time he maintains his innocence of the charges.

 I firmly believe that you only know a person’s character in the worst moments of their life. I
 have had the privilege of getting to know Keith during such a time and I believe him to be a
 good and peaceful person.

 I implore you, your honor, to be as lenient as possible and not sentence Keith to life in prison.


 Sincerely,



 Suneel Chakravorty
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            My name is Theo Chiappone. I met Keith and the community he was in at the
    age of 7. I believe the community I grew up in was made of only people that wanted
    to be there and that what we had as a community was good. I am writing this to
    share my experience of the people and community that Keith spent a lot of time
    with.

            I used to play volleyball 3 times a week. At first, it was just an extension of
    my school practice, but after a few months it started to mean more than just extra
    practice to help me be better at school. Late night volleyball was a community event
    that I could expect to see friends, celebrate birthdays, sing songs, add our own spin
    to a running joke or just sit down and have a thoughtful exploration of an intriguing
    topic. The bond I built with the team as we joked, snacked, wrestled, sang and
    fiercely competed grew stronger and late night volleyball became something I
    looked forward to eagerly. Keith was a big part of late night volleyball for me. No
    matter how tired we were or how angry I would get on that day, he would still
    encourage me to be aware of the state I was in and help me focus on the game. Keith
    is a very positive and committed person who always seems to know why he does
    something. He never once missed a volleyball practice if he was healthy enough to
    play, and if I had a bad day at school and brought in a worried expression he would
    remind me to smile. He asked me about how my day was every time I stepped on the
    court and we ended up talking about Led Zeppelin and the Beach Boys every time
    they came up on the radio.

            The most fun I had at late night volleyball was when I was grouped with
    Keith. He would try so hard to adjust his serving and setting to benefit his
    teammates and dive for every play if needed, rarely holding back. I remember going
    eight games undefeated with Keith and observing the cool tricks and float serves he
    could manage and on top of that, the childish boasting and bragging he would use to
    excite and encourage the other team. I remember long 10+ point serving streaks we
    would have, the playful experiments, and predictions both teams would implement
    to sway the game in some ridiculous and silly fashion but then regroup to maintain a
    standard of play where we knew we were challenging the other team and getting
    better. I attribute my sense of humor and yet my ability to concentrate intensely on
    something to late night volleyball with the team.

           I believe that Keith and the community he had inspired had been a positive
    influence on my life. I am thankful for the friend and companion Keith has been as
    my teammate on the volleyball court and in life.




                                                                     Theodore Chiappone

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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


 Dear your honor
 I introduce myself, my name is Abril Cigarroa, im a Business owner in the wellness industry and
 body therapist and acupuncturist.
 I consider myself a seaker, since 17 ( i am 34 now) ive travel to different countries in asia mostly
 meditation retreats to seak for inner calmness and peace.

 I get to know nxivm in 2015 and travel to Albany to take the Exo/eso program ( one of the body
 awareness Keith leaded) Those 2 months i remember i had one of the most significant
 realizations. I get to do things with my body i have never done ( like working out, Wake up early,
 getting to know my body and emotions in a way i have never done before, I clearly remember
 thinking “if I can do this, then I can do whatever I want” a feeling of inner strenght and a wide
 menu of possibilities opened to me, not just in a physical way but in an emotionally and mental
 way, I understood I could choose to feel however I wanted independiently of the external
 circumbstances . I arrived to my home back from that program and not just start my business
 but also start doing things I’ve never pushed so much to get done in my life, so in a way I get to
 know myself more in my capacities.

 When I was in Albany i get to know Keith because he gave some “forums” and i was very
 curious about his way of looking things. A lot of what he said made total sense for me. I get to
 talk with him and I was admired by his warmth humbleness and friendliness, when he talked to
 me I can perceive his total atenttion on what I was talking and even though he was most of the
 time very busy, I admire the time he took to spend time with friends just joking, playing volley.

 Also one of the most things I admire about him was the importance he gave to build community,
 Because it is the same for me, I was experiencing a lot of people getting benefits from being
 part of a group of people that care humanity and ethics.

 I experienced many benefits from keiths programs. I perceive he had an honest and loving
 intention in designing them and because of that I plead to the court to impose the lowest
 appropiate sentence permited under the law.

 Thanks so much for this

 Abril Cigarroa
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Date: October 9, 2020

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


 Dear Judge Garaufis,

 My name is Nicole Clyne. I am 37 years old and I live in Brooklyn, NY. I am writing to share
 my experience and knowledge of a man you are about to sentence. I have many reservations
 about making a public statement. In addition to being named at his trial as someone close to
 Keith Raniere, part of his so-called “inner circle” and a member of the women’s secret sorority,
 DOS, I have been harassed by media and the public-at-large — online, over the phone, at my
 home and at my place of work — because of false allegations against me. Even during the two
 years after Mr. Raniere’s arrest, when all I did was work and try not to attract attention, I was
 still pursued by people oppositional to NXIVM, written about online, and threatened. I am now
 at a point where the decision to stay silent is no longer an option — practically and morally —
 and I sincerely hope my voice can contribute to a more humane consideration of a man I care for
 deeply.

 I was raised in Vancouver, BC by a single mother who worked full time as a high school English
 teacher. Despite our humble means, I was always encouraged and supported in my pursuits,
 including sports, music, academics and acting. After high school, I started a career in acting
 while I attended university, and by the age of 23, I had a regular role on a hit TV series. Being
 financially comfortable and achieving a reasonable amount of success afforded me the luxury to
 ask bigger questions about my life and how I wanted to spend it. I studied philosophy, religion,
 and psychology in school and I was inspired by the works of Viktor Frankl, Gandhi, Carlos
 Castaneda, Anne Frank and others. All of this is to say that when a fellow actor friend of mine
 told me about a training that had transformed her life in noticeable and meaningful ways, I felt I
 had nothing to lose by checking it out, and potentially everything to gain.

 In November 2005, I took my first intensive with Executive Success Programs (ESP). I found the
 training profound in several ways, not the least of which was the merging of rich, philosophical
 concepts with ways to practically and effectively apply them to your life. I experienced
 immediate results in several ways: I felt less fearful going to auditions, I was less reactive in my

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 relationships, I understood my decisions on a deeper level, and, overall, I felt more hopeful about
 my ability to craft the type of life I wanted.

 I don’t remember when I first met or heard about Keith. Presumably, I met him at volleyball,
 since that was the regular social event and anyone who was in town or taking a training could
 attend. I do remember being struck by how approachable he was. Having known many famous
 people, I wasn’t necessarily easily impressed, but I was certainly curious about this person whose
 mind had created a curriculum that got at the heart of the human condition and facilitated
 profound perceptual shifts in people. I don’t recall anyone making a big deal about his IQ or
 other accolades, as you read about in media reports. I just remember that he seemed like a very
 warm, present and intelligent person, and when he asked how you were doing, it felt like he
 meant it.

 It has been nearly 15 years now that I’ve known Keith Raniere. Over that time, I have heard
 people say extremely positive things about him, and I have heard people say extremely negative
 things about him. Yet despite what anyone has said or written, I have seen him treat everyone he
 meets the same way: with kindness, openness and respect. I have never seen him shy away from
 criticism; in fact, he welcomes it. And most of all, I have never heard him speak a hateful or
 dishonorable word about anyone. I have watched him respond with genuine bewilderment when
 he hears some of the things people say about him, both good and bad. Sometimes because they
 are lies or exaggerations, but often because they are simply people’s own projections. For some
 reason, a lot of people like to make Keith into something he is not, for better or for worse. And
 while I understand this tendency, the need to either put someone on a pedestal or make them into
 some kind of monster, I try to see people as they are, and judge them based on their character
 and consistent conduct over time.

 One thing about Keith is that he doesn’t conform to society’s expectations just for the sake of it.
 Part of the reason he is able to create tools that help people break free from their limiting beliefs
 is that he sees beyond our indoctrinated notions of who we are and what’s possible, and he sees
 ways of being that are more in line with our true nature as joyful, loving humans. In doing so, he
 often says or does things that make people uncomfortable. Another thing I perceive he does,
 which may be most to his detriment, is he believes people. When people come to him and ask for
 help, when they tell him they want to achieve a goal or overcome a fear, and they’re willing to
 do whatever it takes to do it, he believes them. He trusts them. He also believes people when
 they make promises or say they want a specific kind of relationship. Is he wrong for doing this? I
 don’t know. Maybe he should have known better than to trust certain people. What I do know,
 however, is that I am eternally grateful that he believed me, and believed in me, all these years.
 All the times I wanted to give up on myself, Keith never did, and that is one of the main reasons
 I will never give up on him.
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 On a much more personal level, to me, Keith is the man who always asks how I’m doing, no
 matter what he’s going through. He is the man who never once used a disparaging tone or said
 something unkind. He is the man who will tease me in ways that help me take myself less
 seriously or forgive myself when I make mistakes. Keith is the man who always calls on my
 birthday and apologizes when he gets lost in thought or tells a dumb joke. Keith is the man who
 taught me I can do anything I set my mind to, and that I have a lot more in my reserve than I
 realize. He also taught me I don’t have to beat myself up if I fail, or pretend I’m not sad when I
 lose something I care about. Keith is the man who taught me what it truly means to love
 someone, unconditionally, and without limit. And Keith is the man who showed me what it
 means to stand for your principles against all odds and adversity because, no matter what people
 think of you, all we have in the end is ourselves and our own conscience.

 One of the hardest experiences of my life was the passing of my father. In addition to a life-long
 struggle with addiction, my dad battled COPD and cancer, and I was the person he relied on for
 support. I struggled a lot with him growing up and had all but disowned him as a father before I
 took ESP. Thankfully, as an effect of the tools and support from Keith and the community, I was
 able to forgive my dad and let him back into my life as one of my closest and most trusted
 friends. When I went to Keith and shared my distress over wanting to prevent my dad from going
 down yet another self-destructive path, he first helped me have compassion for myself, and
 reminded me that there’s no “right” way to be. He empathized with my pain and told me about a
 friend he had who was a brilliant man, like my dad, but who ended up homeless. He helped me
 be acknowledge and be present with the pain, rather than trying to change my dad to make the
 pain go away. He showed me how I could separate my judgment from my love for him, and do
 small things to encourage my dad to make healthier choices. In the end, my dad did make
 healthier choices, and I think it had a lot to do with the fact that he didn’t feel I was trying to
 change him, but that I loved him no matter what. When my dad was rejected for a lung transplant
 after years of trying, we were both devastated. My dad, who was nothing if not a fighter, was in
 terrible pain and expressed wanting to give up. Upset and afraid my dad might take his own life,
 I asked Keith for help. He suggested I look at countries where they offer private transplants. I
 reacted in frustration, “That’s crazy, he won’t even survive the plane trip let alone surgery in a
 foreign country.” But I hung up the phone and looked anyway. When I told my dad about the
 different options, his whole demeanor changed and, to my surprise, he was moved to tears. He
 told me it meant the world that I would keep trying to find a way, that I wasn’t giving up on him.
 True to his nature, my dad fought until his dying breath, and I’ll never be more grateful to Keith
 for this gift. Sometimes the impossible dream is all we need to keep hope and love alive in our
 hearts. I know it is for me.1


 1
  An old draft of my letter, which I shared with Keith’s counsel said: “Perhaps most significant for me, I learned to
 be a loving daughter before, during and after the death of my father. My dad had made a lot of questionable
 choices in his life, especially as a father, but thanks to NXIVM’s introspective tools, the support of my friends in the
 community, and my personal relationship with Keith, I was able to forgive my dad for his shortcomings, see his
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 While I believe most of what is perceived about Keith is untrue, misinformed, or a result of
 ulterior motives, I also believe he takes responsibility for the ways in which he has
 unintentionally caused people harm or distress. I know he feels deep pain and sorrow over the
 amount of damage that has resulted from his actions and the misunderstandings in his
 relationships, and I trust he will spend the rest of his life trying to right his wrongs. It’s true he
 has a brilliant mind, but he is, after all, human. And he’d be the first to humbly attest to this. I
 don’t believe he ever imagined things would rise to the level that they have, nor would he have
 wished this type of adversity or strife on the beautiful community he helped build over the past
 20 years. Knowing him, I imagine one of his biggest sources of heartbreak is the notion that
 there are people who have supported him and the community over the years who somehow now
 believe that they were part of something bad or harmful. This is simply not true and I hope that
 the people who have stood by what we were doing feel resolved in that they were part of
 something not just good, but great.

 When the idea for DOS came about in 2015, from conversations I was having with Keith and
 others, I knew it wasn’t going to be for everyone. I thought maybe only a handful of women
 would want to embark on this more extreme version of coaching and personal accountability.
 But as I experienced the increasing degrees of freedom I felt by bringing weight to my word, I
 started to be more open to the idea that more women might want it. In the end, maybe my initial
 instinct was correct. Maybe the idea was simply too extreme, or too controversial for where most
 people are at on their journeys. I am willing to accept that reality. But that it was abusive or
 deceitful in any way is something I will firmly contest. Sadly, I was not able to make my case in
 front of the jury that convicted Keith because of threats from the prosecution. My testimony
 would have countered much of what the prosecution’s witnesses alleged and dismantled the
 Government’s entire theory about DOS, reframing it from a sinister “sex cult,” to a group of
 women who sought guidance from a trusted and intelligent man, and created a secret sorority for
 women that implemented some somewhat unconventional practices in the pursuit of growth and
 personal freedom. I witnessed first-hand how the practices and organization developed, yet I was
 not able to counter the claims made by the Government’s main witness regarding DOS, even
 though she joined some 19 months after me, and had only been a part of it for a few months
 before the whole thing was dismantled. I also could have provided evidence and testimony to
 challenge the claims made by other witnesses, specifically that all their actions were motivated
 by the fear of their collateral being released. Not only was collateral never intended to be used in
 this way, there are numerous examples of women going against or failing to do what they
 committed to, and no one’s collateral was ever released. I could have spoken to the origin and
 meaning of the brand, as well as a whole host of other controversial topics, for they all have


 struggle as a human being, and become his best friend in the final years of his life. It’s possible that my relationship
 with my father, despite whatever other successes I have in life, will remain one of my proudest achievements.”
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 perfectly rational explanations. Most especially, I could have adamantly contested the allegation
 that DOS was created for Keith to have sex partners. I find this idea completely absurd and even
 offensive — as a woman and a partner of Keith’s for over a decade. I have never known Keith to
 want intimacy with someone who doesn’t want it, and it’s a ridiculous notion to think he would
 have gone to all that trouble for sex.

 I may be idealistic, but I hold strong to the belief that goodness and truth will prevail. The cost
 and collateral damage of this case, however, is almost unbelievable, and something I wouldn’t
 wish on any person or community. Still, I take comfort in knowing that Keith remains the Keith I
 have always known. Even in prison, he is coming up with ways to address the brokenness in the
 criminal justice system. He is introducing tools that may or may not help him in the end, but, if
 adopted, could prevent thousands of people from being needlessly and wrongfully incarcerated.
 He is wanting to use what has happened to him to make positive change in the world, and he is
 doing it knowing that there will be many, many people who use his creations against him or will
 push even harder to have him locked up or, even worse, killed. I dare to even imagine a world
 where the people who hate Keith, or wish ill will on him, get their way. I refuse to let that be a
 possibility in my mind, but regardless of what happens, I will always know that I am a better
 person for having known him, and that even when it feels the whole world is against you, it is
 still possible to live a life of honor, compassion and character.

 Please consider the possibility that there is another side to this story, a side no one has heard. The
 media, the Government, and a handful of very powerful people are complicit in silencing an
 entire community of people. Over 18,000 people took NXIVM classes and many who know
 Keith personally have not been able to speak. The Court, and the world, has only heard from a
 small percentage of people, people who very likely have ulterior motives in making Keith out to
 be a monster, and who continue to benefit from their roles as supposed “victims,”
 “whistleblowers,” or “arbiters of justice.” I appreciate your time and consideration in this matter,
 for it is a matter of grave importance and historical significance.


 Respectfully,

 ____________________
 Nicole Clyne
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East Brooklyn, New York 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)



 Dear Judge Garaufis,

 My name is Danielle          . I am a board certified osteopathic family practice physician. I completed
 my bachelors of science in psychobiology from Binghamton Cum laude in 2003. I went on to complete a
 dual medical degree from NYCOM graduating with both my Master’s in Clinical Nutrition and my
 Osteopathic Medical degree. I completed my residency training at NSLIJ Plainview Community Hospital
 and have served our communities as both a hospitalist in NY and WI, as well as medical director and
 physician of 2 medical practices on LI and in NYC. I was one of the Co-Developers and President of
 exo|eso™ and one of the initial members of DOS.

 I was first introduced to Mr. Raniere’s work in November 2012 when I took my first ESP 5-day program.
 I first met Mr. Raniere personally September 2013 when I took my first SOP training. I was so moved by
 his work I decided to move to Albany November 2013 to take his Ultima curriculum, learn to teach it, and
 integrate it into my practice. Since then I have participated in; the ESP 16 day, Mobius, Human Pain,
 Anatomy 2a, Jness 1-12, SOP 1-2, Reverence, Higher Education and DOS. In addition to our professional
 relationship, I am also a close friend of Mr. Raniere’s.

 He has been there for me through many of my biggest life struggles; ethical struggles of leading our
 company, loss of friends and partners, and death of loved ones – and I for him. It is often his example and
 words of encouragement I remember at my toughest, most trying moments that help me to endure or push
 a little bit further. I share this to highlight the amount of direct professional and personal experiences I
 have shared with Mr. Raniere over the past 7 years. Many of those you have heard from to this point have
 much less experience of him or have shared removed or indirect experiences of him.

 I also think it’s important to point out the secondary gain those that shared at the trial are capitalizing on
 including: book deals, news and media fame, seeking monetary funds through civil suits, etc. On the
 opposite side, the amount of fear, hate, judgement and oppression those that would like to share positive
 experiences of Mr. Raniere have to face in order to do so is significant, and leaves a very skewed lens for
 you to look through. I believe these are import factors to consider when making your sentencing decisions
 and hope you find them helpful.

 That being said, in my direct experience of Mr. Raniere, I have never met a more caring, gentle, dedicated
 man. He intentionally and proactively has spent, and spends, many hours a day contemplating how to best
 help our human team and improve the lives of others.

 After the loss of one of his partners of 30 years he checked with me often for weeks playing and replaying
 if he could have done anything differently - trying to determine if she were experiencing any fear, and
 hoping she experienced nothing but peace. It was not about him and his loss – it was always about her.
 90% of all of our numerous conversations were spent discussing how to help me, how to help another, or
 furthering companies to help people. In fact, I know little details about him or his preferences, because he
 spends little time concerned with himself. After his countless hours of investment in mentoring me, and in

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 my darkest hour, I wanted to quit, walk away from my dream and give it all up – I shared “I’m not sure I
 can do this anymore”. His response; “It’s ok, I’ll still love you. - The only thing you will lose is the hard
 work you put into it”. I was so moved. There was no self-focused response – no trying to convince me to
 stay, no guilting me or reminding me of all the resources and time he had put into me and the project -
 nothing… This is the kind of teammate and human being Mr. Raniere is.

 I saw this in all of his life endeavors: His trainings, and companies were specifically designed to help
 others get to know themselves more deeply - so that they may get more of what they wanted - develop a
 deeper sense of their own personal ethics, and humanity through compassion, and science. He sought to
 help others fortify their ability to choose love and honor what’s deeply right for them, even in the face of
 loss, hate and violence; He led peace movements in Mexico, pursued equality and world-wide resolution
 of prejudice through Rainbow, launched solutions to the biased, slanderous, and unethical processes in
 our media and reporting systems which destroy countless lives, found solutions to help others heal
 “incurable” physical ailments such as; Tourette’s, OCD, colitis and many others, brought honor to
 dishonorable TV, empowered men and women, and launched of one of the largest personal growth
 coaching program’s I know of - all from a place of inspiration - without force, control or punishment.
 Above all he honors a person’s right to choose and make their own decisions – even if he may not agree.
 He is the most dedicated person I know in the world today to building good, and honoring free-will. Even
 from his jail cell – when all but his life has been taken from him (and to my embarrassment) he is
 thinking how he can help me… help others and improve the lives of others. This is not a self-seeking
 man.

 From a doctor’s perspective: I believe the results of his work and the impact on people’s lives would have
 been monumental, cutting edge and changed the way we practice medicine forever… and that’s just
 medicine. Any one of his projects had the potential to heal and revolutionize its industry of focus.

 A man with this dedication, thought process, and devotion does not seek to harm, does not act from bad
 intent. He does, however, encourage thinking and questioning which may cause people to be highly
 uncomfortable. In order to create solutions to problems that have not yet been solved in our world, you
 must challenge the status quo and its current premise. He is provocative, revolutionary, and
 unconventional… This, unfortunately, triggers fear and can inspire blame and hate from others that don’t
 understand why. (especially if they have never tried to build something like this). This, I fear, is what has
 happened with DOS;

 As a 2nd- line member of DOS, and their 1st branding artist of membership, I am uniquely qualified to
 speak to its nature. I became aware of Mr. Raniere’s association with DOS after about a year of
 membership. This was not a problem for me. His partnership with the women in this organization, I
 believed, could only make it stronger. I knew him to be skilled, self-less, devoted and aligned with our
 mission. As a man, I have only ever experienced him seeking to further empower women, helping us see
 our strengths and weaknesses, exposing us to reality and giving us tools to grow and navigate it better. He
 was willing to tell us the truth and hold us accountable to our word – something most men in this society
 are not willing to do for us. I experience most men trying to protect us, letting us off the hook if we cry,
 tantrum, or the like, and shield us from reality or the consequences of our decisions (as similarly
 illustrated in this case). As a result, we as women, do not share (and have not earned) a place of equal
 respect with some of our male counterparts in society. We instead experience discrimination and glass
 ceilings. I for one, no longer want that. If there was a man to be on our team, he is the one I would
 choose.

 I also have direct knowledge that it was not he that chose to incorporate his initials into the sorority’s
 symbol of choice, it was the women who chose that, along with other meanings, to commemorate his
 contribution to the organizations creation. It was never intended to be a symbol of possession or
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 ownership. Nor was the collateral held by Keith or ever intended to force, coerce or blackmail – as
 evidenced by the fact that it has never been released even after countless women have broken their vows.
 It was a tool for personal use for us to reference and weight our decisions against, as we strove to reach
 our goals and find our way as powerful, conscience, compassionate women of our word.

 To be clear: I have never experienced force, blackmail, manipulation, violence, unwanted branding or
 sexual pressure. In fact, I never participated in anything that I, as a consenting competent adult didn’t
 choose to engage in. My experience was one of consenting adults, making mutually consented-upon
 decisions to explore different ways of thinking and living. When it got hard, did I sometimes want out?
 Sure – but no different than when I wanted out in medical school or residency. Did I sometimes forget
 why I was doing all this and victimize myself to my circumstance? Yes. But that’s no different than
 choosing any commitment (marriage, medical school, priesthood) and then wanting out or feeling a
 victim to your choice instead of owning it and stepping up to make it what you want it to be. The
 coaching I had in DOS helped me face fears and have breakthroughs I otherwise wouldn’t have had. Was
 it hard? Yes. Was it perfect? No. Was it worth it? Yes.

 I joined DOS because I wanted to be strong enough to inspire others to keep going when it was hard - the
 way he inspired me to keep going at my hardest moments. I wanted to be able to have the type of impact
 in the world, and in medicine, that he was having, and see exo|eso™ thrive on a global scale. Was this an
 unconventional way to reach my goals? Sure - but my right to pursue. I believe it has given me the
 strength to endure more gracefully the oppression and hate I have become the target of in the last 3 years
 and helped me continue to strive to love, forgive and build good things in the world despite it.

 Mr. Raniere is the ultimate example of that for me. I have observed is his consistent honorability, even
 towards those who have attacked him viscously now, and in the past. I have never heard him speak an ill
 word, blame, hate or want to punish them. Any mistakes he may have made, or ways in which his
 lifestyle is misinterpreted needs to be placed in the context of the rest of his life, not taken out of context
 and spun. If there are mistakes he has made, or errors in judgment, I believe whole heartedly they were
 made with only good intent in mind and he would be the first to want to address and fix them. He has
 been modeled this for me again and again.

 I am honored to say I know this man. I am so privileged to have experienced a man like this exists. I have
 seen him help me and so many others around me. I believe we need more people like this in the world. I
 do believe deeply, your honor, that it is not only I who has been so deeply helped and touched by his
 choices, but that there are very many others who would share their positive experiences with you if they
 weren’t scared to. Please allow this perspective to help to balance the unilateral narrative you have bared
 witness to so far. Please allow it to inform you of the many good things that Mr. Raniere has done when
 making your final decisions as to how he will spend the rest of his life. I believe he is a life worth saving
 and someone who’s deepest intents are to help not hurt.


 With great respect for the responsibly and lives you hold in your hands,




 Dr. Danielle
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                                                      Monterrey, Mexico. December 5th 2019

   Honorable Nicholas G. Garaufis
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

          Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)



   Dear Judge Garaufis:

          My name is Alvaro De la Garza, I´m a 37 year old male from Monterrey, Mexico. I
   hold a bachelors degree in Electronics and Telecom from Monterrey Institute of
   Technology. As of now I manage a Lens Surfacing Laboratory, we work with
   Ophthalmologists and Optometrists to provide eyeglasses.

   I first came to know about Keith Raniere when I took a 5 day intensive here in Monterrey
   in 2007. I found all the concepts and principles presented to me very interesting and really
   helpful.

   In 2012 I met Keith personally when I attended V-Week, the 10 day retreat at Lake
   George, N.Y. I was so positively impressed with what I saw and experienced that I decided
   to be more involved with the NXIVM organization. So when I came back to Mexico I
   enrolled to be an apprentice coach in the Ethos Program. In the past years I have also
   traveled to the Clifton Park, N.Y. area in several occasions to take courses, all in which I
   have had the chance to talk to Keith.

   His ideas and advice have motivated me to be a critical thinker and to be more
   responsible. And most importantly and what I value the most, to have peace of mind and
   more fulfilling and honest relationships.

   I was shocked and upset when I found out that Keith was being convicted of such heinous
   crimes. As I have always experienced Keith to be non-threatening, non-violent and very
   kind with noble ideals, utilizing his time, effort and ingenuity to come up with solutions for
   humanity’s problems. I write this letter to plea with the court to show leniency and to
   impose the lowest sentence permitted under the law.



                                        Alvaro De la Garza.
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201
 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


 Dear Judge Garaufis,
 My name is Jim Del Negro. I am currently working as an independent sales agent,
 though my background is Mechanical Engineering, where I worked in the fields of cable
 television and the energy industry for over 15 years. I also owned a tutoring franchise
 where we helped children from the ages of kindergarten through high school to do
 better in their studies. I was brought up in a Catholic family and community, and I
 believe in the U.S. Constitution and the principles put forth by the founding fathers of
 this country.

 The coverage of this case has made it extremely difficult for anyone with positive
 experiences with Mr. Raniere or his companies to come forward due to the extreme
 hatred that has been directed at anyone who does not denounce Keith and his
 companies. Some of us have lost our jobs, had to remove our children from schools, and
 been cut off from family members and social circles due to directed hate campaigns
 against us. I would like Your Honor to know that there is a large number of people who
 wanted to testify for the benefit of the defense and did not. Also, there are a large
 number who will not write letters. The reason for this is that we all fear government and
 media retribution. It was impossible for Mr. Raniere to get a fair trial with the defense
 calling zero witnesses. It’s an unfortunate truth of human nature and our justice system
 that intimidation and hate plays a role in our legal process, and we all have to live with
 that and do the best we can. I write this letter to share with you some of the
 information I would have shared at trial if I was encouraged to take the stand, instead of
 scared into hiding.

 I was introduced to Executive Success Programs at a one-day seminar hosted by the
 Saratoga Springs, NY Chamber of Commerce back in 2002. I experienced a profound
 deepening in my understanding of morality and ethics at the seminar, and how these
 values would help me in my life. I subsequently signed up for a 16-day training and
 eventually became a coach and trainer for the program. I participated as a client and
 coach in most of the companies related to Keith Raniere. The reason I valued his
 programs so much is that I experienced positive, lasting changes in my behavior and my
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 experience of my life. I became less fearful and more understanding of people as a
 result of participating in his trainings. Ultimately, I experienced more compassion and
 built my empathy for others.

 I spent a minimum of 10hrs a week with Keith playing volleyball, and more time with
 him being coached and mentored by him. I did this over the course of over 16 years. I
 also spent time in trainings which he conducted, where I observed him coaching many
 people over many years. I had exposure to him working with me and others in that time,
 where I felt nothing but patience, kindness and love.

 My firsthand experiences with the curriculum and Keith Raniere were extremely
 positive. The interactions were caring and considerate of me and the people around me.
 The message I received from him and his companies was that compassion towards
 others and doing the right thing are guiding principles to experiencing goodness and joy
 in life. That we can only experience kindness and love if we feel that way towards others
 and treat them with respect.

 We studied many of the greatest humanitarians in history such as Jesus, Ghandi, and
 Martin Luther King to name a few. We studied how and why they exhibited such acts of
 compassion and character, and we were given tools to build the caring and character to
 be such a person if we wanted. I believe these tools are revolutionary and will transform
 society for the good, as they have transformed me to be stronger in my conviction to
 uphold goodness.

 The reason I have put so much trust in Keith is that he continually and consistently
 demonstrates the traits of virtue. This perspective is the opposite of the people who
 testified against Keith. The event which illustrates this point the most for me was an
 event where we had 104 men fly in from around North America to attend a three day
 seminar. The topic was to be “Keeping Our Word”. We, the leaders, promised we would
 have a minimum of 100 attendees in order to conduct the event or we would cancel it.
 We barely made our number commitment, however we did it through non-ethical
 means. We got a few last-minute men through taking them from another company
 event, to the detriment of that group. Keith found out about this at the last minute, 30
 minutes before he was going to start the training. He told us he was going to cancel the
 training because it wouldn’t be right to go forward under the circumstances. He
 proceeded to address the group of 104 attendees and told them what had happened
 (not blaming or outing those of us that caused the problem) and that it was his fault for
 the mistake. He took on the burden of facing an angry group of men and taking
 responsibility as the leader to take it on the chin. He offered to give back $150,000 in
 training fees to the members as well as damages for time and travel costs. He said he
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 would give the men what they felt was fair for damages, and he honored his promise.
 This was the most humbling experience of my life to this point, to see someone stand up
 for a principle that I was too weak to uphold. It felt terrible and inspiring all at once. It
 truly transformed my life and how I would approach my goals in the future, to not cut
 corners, to keep my integrity and do the right thing regardless of the material cost. This
 is in direct contradiction to the testimony of Mark Vicente, who testified that Keith
 walked out of that training and left us to take it on the chin. This event and Mark
 Vicente’s lie can be proven because the event was captured on video.

 That event was an example of his direct, hands on leadership in action. In contrast to
 the above example of taking the bull by horns style in times of crisis, was his non-direct
 nurturing style of leadership. He is by far, the least authoritarian leader/coach I have
 every been exposed to in my 53 years of life experience. I was part of the leadership
 teams in a couple of his companies. I experienced many of the leaders of his companies
 as being angry at him for not being more directional and assertive with his leadership.
 Specifically, Mark Vicente objected to Keith in this regard. Mark and others wanted him
 to take control and assert himself and his power over people and situations. In fact,
 what they wanted was him to abuse his power to get a better result. He refused to do
 this, and left decisions up to the leaders, refusing to intervene in the direction and
 operations of the companies. He remained up till the end of his freedom as a trusted
 advisor to the leaders of his companies. I made some bad decisions and saw others
 make bad decisions, which he later helped us clean up (reference preceding story). He
 only inserted himself in decision making when the failures came close to destroying the
 companies or they broke a fundamental moral code. (Note: his companies were owned
 and run by people other than himself. They were his inventions that were gifted to his
 friends). I eventually came to understand, through these events, that he valued the
 humanity and growth of the people who he mentored more than the material success of
 the companies. This was a very unconventional methodology, and one which I look back
 on with extreme admiration and gratitude. I had never seen anyone gift companies to
 their friends like that. It was a humbling experience to be the recipient of such
 graciousness. This is in direct contradiction to the testimony of Mark Vicente, who said
 that nobody was allowed to disagree with Keith and people were afraid to disagree with
 him. Mark was one of the people who directly disagreed with Keith consistently. This
 disagreement didn’t seem to jeopardize Mark’s relationship with Keith nor Mark’s status
 with any of the organizations. Mark was at the top of every organization in which Mark
 participated and he was Keith’s closest friend.

 Another impactful learning I received from Keith was when I was coaching a young adult
 who was a kind and happy person, but was not doing well in school. I was concerned
 that the person was going to squander their opportunity of education and it would
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 affect their life in a negative way going forward. Keith recommended that I focus on
 helping them build their conscience and caring about others, and not to worry so much
 about their education. Keith told me that the person could always go to school when
 they found something that interested them, but building their conscience and caring for
 others would be the basis that would serve them for the rest of their life. The person is
 now 10 years older, married and doing well as a direct result of that advice.

 I had a personal medical issue which demonstrates his relentless pursuit of caring for
 people. I had suffered from a very painful case of plantar fasciitis, which is a severe pain
 in the bottom your foot. When I woke each morning, my first few steps felt like I was
 stepping on shards of glass. It was excruciatingly painful. I spent a year going to
 specialists with no improvement. Each time I went to a specialist, Keith would ask me
 what they said. Finally, one night before volleyball he asked me if he could look at my
 foot. I said, “of course.” He did a few tests on my muscle strength of each foot and gave
 me a suggested exercise to do. He said if his theory was correct, I should see
 improvement in just two weeks if I did the exercises. It did work, and I got rid of the pain
 totally in about 2 months. When I first reported back my good results he apologized for
 not thinking about it sooner, and I believe he truly felt sorry for not solving my problem
 sooner. This is a difficult experience to convey in a letter, but I felt the depth of his
 caring to a level I had only experienced from my direct family.

 My time with Keith has been filled with thoughtful moments like the ones above. I can’t
 say enough how many good things have come to me and my friends due to our
 friendship with him and our participation in his organizations. I was involved with
 collecting and reviewing thousands of anonymous questionnaires from participants who
 also had glowing recommendations of how Mr. Raniere’s companies had changed their
 lives for the positive. There are boxes of these recommendations somewhere in the
 archives of the company documents. I hope these documents have been shared with
 the court.

 I empathize with the immense responsibility that sits with Your Honor, and I have the
 deepest respect for your position. I feel there is no way to feel good about sentencing a
 man who was not able to bring forth witnesses for his defense. I hope others who could
 have countered lies by witnesses for the prosecution come forward as I did to document
 the injustice of this trial.

 Best Regards,



 James J. Del Negro
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Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


To Whom It May Concern:                                                       December 10, 2019

My name is Marvin Derks and I was a businessman in the Albany, NY area until my retirement. The
reason for this letter is in regard to the possible sentencing of Mr. Keith Raniere. I met Keith in 1999
through Nxivm. I was experiencing anxiety issues and reached out for help.

I spoke with an associate at Nxivm and we scheduled some 2 hour sessions together. Because of those
sessions and with the use of Mr. Raneire’s technology, my anxiety and fears lessoned significantly and
my joy of life increased. I was also able to better connect to my associates on a personal level, lowered
business costs by 30% and increased production output. My associates said “we don’t know what
trainings you’re taking but keep taking them.” I was much more approachable.

The technology used in these sessions were caring and beyond my belief. I had never experienced
anything like it.

When I got to meet Mr. Raneire, I found him to be loving, witty as hell and full of empathy. I had never
met another human being so full of love and empathy for everyone. He was (and is) brilliant, in my
opinion. He loves the human race! Everything he did and said were for one reason only: to advance the
human race and to do it together as quickly as possible.

I continued to take trainings and was able to experience the effects it had in my life and in many others.

I write to you now hoping that you consider the significance of Mr. Raniere’s technology. We need him
and his work to continue.

It would be so useful if you could speak with him “one on one” to get a deeper understanding of his
“intent” in all he has done but I know this may not be possible.

I ask also that you consider a minimum or no sentencing for Mr. Raniere. We need him now more than
ever before. “The teacher arrives only when the world is ready.”

Thank-you so much for your time and consideration!


With Respect,

Marvin Derks
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                                                                                                                   October 8, 2020
Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

         Re: ​United States v. Keith Raniere​, 18 Cr. 204 (NGG)

Dear Judge Garaufis,

I am writing in regards to the upcoming sentencing of Keith Raniere. While the information coming out of the recent federal case
against him has been exceedingly negative, it stands in stark contrast to my immensely positive experience of Keith and his
contributions to society over the last 10 years I’ve known him. I’m submitting this letter for you to consider diverse perspectives
on his character and the totality of the beneficial impact he has had on me and many others I know.

As background, I am an entrepreneur who has long cared about helping people. I’ve started several nonprofits, and I was
introduced to Executive Success Programs (ESP) while I was running an LGBT advocacy organization I founded in NYC to help
win marriage equality in New York. I had recently graduated with an MBA and MPA from Harvard University, and I took ESP’s
course because I was struggling to manage the day to day stresses and demands involved in leading an organization.

My first ESP intensive was transformational in a lasting way. My stress levels plummeted, my confidence and ability to
fundraise dramatically increased, and I became more compassionate with others with whom I disagreed. I had gotten so much
value and personal insight from the course that I decided to take many more courses offered through NXIVM companies. Their
effects on my life were similarly undeniable and profound. I was becoming a more centered, goal oriented, self-disciplined, and
joyful person, and I attributed my growth to taking Keith Raniere’s courses. I found the education that he had created to be on
par with, if not more useful than, many of the courses I had taken in my formal education, particularly in the areas of
understanding ethics, emotionality, leadership, and productivity. I ultimately elected to become an ESP coach and trainer, and I
later opened up an ESP Center in San Francisco. I deeply enjoyed helping more people achieve similar results to my own.

I knew Keith through the philosophies and tools embedded in his curricula, I attended many talks he gave, and I worked with
him directly on a few different projects over the years. His theories and frameworks on nonviolence, goal setting, and personal
empowerment were complex and challenging, but once I took the time to deeply understand them, they fully impressed me and
positively impacted my life. I witnessed countless moments where he displayed generosity of spirit, care and thoughtfulness for
others, and commitment to living by noble principles. I cannot recall him speaking negatively once about any person, even those
who had vilified him publicly, and he encouraged others to do the same. I witnessed him do just as he taught–he separated
someone’s actions from their personhood and he sought to understand peoples’ struggles, even when it was most difficult.

Perhaps the greatest impact that Keith had on my life was through his work with my brother, Marc, who had struggled with
severe Tourette's Syndrome from early on in his childhood. I watched my brother remarkably overcome a debilitating
disorder–for which he had undergone countless therapies that deemed it “incurable”–simply by working with Keith, studying his
curriculum, and working with the tools Keith had created. Through this work, I witnessed firsthand Keith’s scientific mind and
humility surrounding the changes he was helping my brother facilitate. I recall Keith once explaining how he operated on
hypotheses, noting that true learning comes not from asserting where one is right, but from finding where one is wrong.

Keith’s criminal trial was unsettling to watch unfold. There were elements of Keith’s personal life that came out which, without
the context of a defense, are hard to understand or fully evaluate. However, the most painful part of the experience was reading
the testimony of several witnesses I knew (many of whom were former business partners and dear friends). It seemed they shared
a very different version of their experience of NXIVM and Keith on the stand than they had shared with me and countless others
for years prior; it’s hard to reconcile. Many of the witnesses I knew were dedicated to principles such as taking responsibility for
one’s choices and emotional world, and to separating someone’s actions from their personhood. To suddenly see witnesses
negatively reframe what they celebrated for so long (and undeniably saw help so many people) was deeply troubling.
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While I may never understand why people said what they did at the trial or various elements of Keith’s personal life and lifestyle,
what I do know is that Keith was nothing but kind to me and everyone I saw him interact with. By learning directly from him and
through taking his courses, I will be forever grateful for the positive impact he’s had on my life; my capacity for compassion has
grown, my commitment and ability to help others has deepened, and my dedication to principles of love and nonviolence has
strengthened. I know dozens if not hundreds of others who share a similar perspective. Given this, I hope you consider the
totality of Keith’s character as you sentence him and that you do so with the greatest leniency possible.

Sincerely,




Brian Elliot
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Honorable Nicholas G. Garauﬁs
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

To Judge Garauﬁs,
          My name is JusLn Elliot. I was born and raised in a suburb of St. Louis, Missouri. I studied InternaLonal RelaLons from
the University of Southern California on a full scholasLc scholarship. I have known Keith Raniere for over nine years. I ﬁrst met
Keith the summer before I went to college when I aSended my ﬁrst NXIVM course. I was inspired to take the course because my
two brothers had taken it; each of them had seen incredible beneﬁt. Three years aWer taking the course and ﬁnishing school, I
moved to Albany and lived and worked there for four years to study the many curriculums Keith created. I am now an insurance
broker and manage a team of sales people.
          I have read the news and I have sat in the benches of your courtroom to hear much of the tesLmony of this case. I know
the world thinks that Keith is an evil man and NXIVM was a cult. However, I have studied Keith’s teachings and have ﬁrsthand
experience of what he tried to build through NXIVM. I experienced these things to be good and Keith to be a noble man. My life
will forever be beSer because of Keith Raniere. Through his teachings and the example he led, I have learned to be more caring
and loving. Through the tools of his curriculum I grew the courage to take risks and start my own businesses. I learned how to be
more open to new ideas and consider other people’s perspecLves.
          Of speciﬁc note, one of my brothers, Marc Elliot, had suﬀered from a severe case of ToureSe Syndrome. This was an
extremely debilitaLng disease for him and interfered with his capacity to live a normal life. Because of the extraordinary creaLons
of Keith and the hard work of the enLre NXIVM leadership team, Marc today no longer suﬀers from ToureSe syndrome. Before
Marc had come to a NXIVM course marc had resigned to live with this condiLon for the rest of his life. I watched before my eyes
over the course of a year Marc dissolve any symptoms he had from this condiLon. Even more astonishing, over the four years I
lived in Albany, I personally came to know and watch ten other individuals go through the same process all having incredible
reducLons in their symptoms some in a maSer of hours.
          I have also had the privilege personally to come to know Keith over the years through my work. I was on the ﬁlm crew
that helped capture diﬀerent events and projects Keith was a part of. Whenever I was around Keith, I found him to be incredibly
kind and mindful of the people around him, including strangers and even adversaries.
          I recall one speciﬁc event when Keith was having a ﬁlmed discussion with a journalist who worked for the Albany Times
Union and had previously wriSen extremely negaLve things about Keith and his family. The journalist aWer reLring had a change
of perspecLve and had reached out to Keith to help document the agenda the Times Union had against him. Upon ﬁrst meeLng
him, any ordinary person might be expected to be cold and cauLous with such an adversary. However, Keith was instead warm,
calm and deeply caring for the man. The journalist’s health had recently declined due to a severe cancer. Keith took much of the
ﬁrst part of the interview to listen to the man’s health struggles and share as much knowledge with the man that could help him
heal as Keith’s deceased partner, Pam Cafritz, had suﬀered from a similar illness.
          Keith built a community of people who wanted to beSer themselves, and beSer the world. To build a world where
people were honest and nonviolent; where we worked together; and where we supported the creaLon of great things. Keith
created tools to allow people to become more joyful, to overcome personal limitaLons and resolve disputes peacefully.
          While at ﬁrst glance, CliWon Park, New York seems like yet another suburban American town, because of Keith, it
aSracted a highly educated and diverse set of people from around the globe, to study and work together in the pursuit to try and
make a beSer world. I think that we all had the best of intenLons, including Keith, to try and shape a beSer future for humanity
and ourselves.
          Keith is a man of incredible talent and good will for humanity. From the boSom of my heart I do not believe he is a man
that deserves to sit in jail for the remainder of his years. I urge you to give him the most lenient sentence to allow him to return
to society to use his giWs to move us all forward.




                                                            JusLn Elliot                                       EXHIBIT

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    Honorable Nicholas G. Garaufis
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

    Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

    Dear Your Honor,

    My name is Marc Elliot and I currently reside in Brooklyn. I’ve been an inspirational speaker
    in the United States and abroad for the past 12 years. I struggled with a severe case of
    Tourette’s syndrome for 20 years of my life starting at the age of five years old. In case you
    don’t know exactly what Tourette’s syndrome is, the medical community classifies it as a
    neurological, genetic, involuntary and incurable disorder. My tics consisted of blurting out
    racial slurs, often offending family and friends that I loved dearly. My motor tics at times
    consisted of violent neck shaking that resulted in headaches and pain on top of the
    embarrassment, mockery and stares in public. Fortunately, I had wonderful support from
    family and friend and turned lemons into lemonade throughout my life. I eventually became
    an inspirational speaker across the nation about tolerance and compassion. My message
    reached college campuses across the nation and Campus Activities Magazine eventually
    named me 2011 College Speaker of the Year. By the age of 24 my tics had subsided a bit, but
    I ultimately knew I would be living with some form of Tourette’s for the rest of my life.

    That is of course until I found Executive Success Programs, created by Keith Raniere and
    Nancy Salzman. Through the education that he created, I finally found a set of tools that
    I had been searching for my entire life to help me get rid of Tourette’s. After taking a bunch
    of courses and even getting personal mentorship at times from Keith, I can finally say I no
    longer live with Tourette’s syndrome. For twenty years my family desperately tried to help
    me get rid of it. I took many different neuropsychiatric medications with severe side effects,
    did biofeedback and habit reversal, went to hypnosis and received Botox injections in my
    neck, face and vocal chords. All of these methodologies were aimed at curbing and
    managing my Tourettes - - beating it wasn’t an option.

    When I found the education and tools that Keith created, I started to see a new paradigm to
    look and understand my Tourettes. I began to ask myself, “What is causing my Tourettes?”
    Up to this point, to question Tourettes would be as silly as to question gravity. As I
    continued to take more education and combined that with my strong will and hard work ethic,
    I eventually beat my Tourette’s completely using mind over body. I can say unequivocally,
    that if I had not come across Executive Success Programs, I would still be living with
    Tourettes today in some form. My family flew me around the nation to premier Tourettes
    clinics at Washington University in St. Louis, Yale University and Baylor College of
    Medicine yet nothing came close to the education of ESP in helping me with my Tourettes.

    After my journey of overcoming Tourette’s syndrome, Keith Raniere lead a team of us in
    working with other people with Tourettes. With his insight and leadership, we went on to
    help 10 other individuals beat their Tourettes. In 2017 a documentary entitled “My
    Tourette’s” debuted in film festivals around the world, allowing others to witness these

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    incredible transformations.

    It’s important to know for severe cases of Tourettes, an emerging treatment is called Deep
    Brain Stimulation (DBS). In this procedure, surgeons implant medal rods in the patient’s
    brain to help mitigate tics. There are countless people in this world in pain suffering from
    Tourette’s, Obsessive Compulsive Disorder (OCD) and other neurological disorders. I
    believe the education that Keith created has the potential to help millions and millions of
    those people around the globe to tackle these often debilitating disorders.

    Unfortunately, almost everything I’ve shared the general public is unaware of because of a
    targeted character assassination campaign against Keith Raniere and the NXIVM community.
    I’ve experienced it first hand being subpoenaed by the government to the grand jury and
    watching old friends go on national TV shows, news outlets and podcasts labeling Keith and
    members of the NXIVM as monsters and criminals. I saw these people even lie how
    NXIVM is a pyramid scheme. A pyramid scheme sells snake oil. My story alone debunks
    that and the thousands upon thousands of other individuals who lives benefited from the
    courses Keith created.

    My experience of Keith is the antithesis of what’s out there about him. I’ll share a personal
    story that deeply impacted me and help me understand the kind of man he is. After we had
    helped one of the first people beat their Tourettes, I remember coming to Keith so excited to
    share the news and talk to him about the vision of how we can help other people beat
    Tourettes. One of the first things he said in response was along the lines of “We need to
    make sure that we protect other people with Tourettes from the hate.” What Keith
    understood is that our results would actually make life harder for other people with Tourettes.
    More specifically, if it becomes known in the world that we have the ability to help people
    beat Tourettes through conversations, people might start to believe that people with
    Tourette’s can control it or ultimately don’t have a condition. Even though we were getting
    unprecedented results, Keith’s main concern was to protect other people from hate. That
    moment gave me insight into his caring nature and helped me be more receptive and
    compassionate as we moved forward with the project.

    I sincerely ask that you give Ketih the lowest sentence possible. Even though I believe him
    to be innocent I understand it’s your job to sentence him based on the jury’s verdict. With
    that, please have the courage to give him a sentence separate from the hate and media
    campaign out there against him. I know if Keith could be out of jail, there are millions upon
    millions of other people suffering from disorders whose lives would be benefited.

    Sincerely


    Marc Elliot
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   Honorable Nicholas G. Garaufis
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Dear Judge Garufis,

             ve never met Keith Raniere, but I write this letter in hopes of expressing how much the

   man's work has positively impacted my life through a Men's Group he created called SocietyOf

   Protectors (SOP). Keith's work has provided me with self-awareness, a strong support system,

   and a deeper, more compassionate understanding of myself.

             My experience in SOP has been life-enriching, to say the least. I have learned to

   evaluate my own decisions and veer away from victimhood and blame. I have explored

   important and relevant topics I may have never otherwise discussed in such detail with anyone

   if not for the men in my sOP teams. sOP has made clear to me the importance of upholding my

   commitments, and has prepared me ith tools anda supportive, caring community to help keep

   me     accountable to the   things I value   -

                                                    without judgement.

             I consider this group a flashlight that shines on limiting aspects of myself that I can't see

   on my own. This group has given me the opportunity to face aspects of myself that deep down

   I've   always known   I've had to   address,      but have chosen to   ignore.
             Iam grateful for my time in this organization. I am grateful thatthere are men that care

   enough to put in work to become better men and hold each other accountable, without

   judgement, to continue growing into better men. I am grateful for what I have learned about

   myself through SOP and each individual involved. I walk through ife sound in knowing that I am

   making a directed effort to develop into a better individual, and thus create a better world. All of

   this, because of Keith Raniere.



   Sincerely.
   Alejandro Estrada
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201



 Dear Judge Garaufis,

 My name is Gurpreet Gill. I am writing this letter to help avoid or clear up any confusion that
 there may about Keith Raniere’s character as I would not want any confusion around mine if I
 were in the same position or similar one.

 My first experience with NXIVM was when I lived in San Francisco, taking a 3-day course called
 Society of Protectors. In it, I was able to make some shifts in my perception and start the
 process of introspection I had always wanted. I was able to become more responsible and carry
 less blame on the outside world in my life, particularly in the realm of my relationships with
 women.

  I now reside in Los Angeles and sell technology for a living. I did not know Keith personally but I
 did take the ESP intensive that he created and SOP as well. I had an incredible experience in
 both. The technology and processes used in both ESP and SOP have dramatically changed my
 life for the better- giving me better results in sales and in my dating life. The technology used in
 ESP, specifically the exploration of meaning- where you try to break a fear pattern you’ve been
 holding you’re whole life has made my life much better. For example, when I first started doing
 cold-call sales, every single time the phone would start ringing (me making an outbound call),
 my heart would start racing as I would go into fight or flight. I went through a 45 minute process
 using EM Technology and the next week and until this day, whenever the phone rings when I’m
 about to make a sales call- no fight or flight has been experienced; rather, I feel excitement.
 This is precisely how Keith has made my life better as I experience far less fear in my life or at
 least feel comfortable knowing that I am going to be okay in situations that I do experience fear.
 My experience in the intensives was ‘mind-blowing’ to say the least, as I was able to get
 significantly more in touch with myself and learn things I never knew about myself before. My
 whole experience of my life became heightened through the introspective practices we went
 through.

 The fact that Keith made ESP and SOP signifies that he does have good character since he has
 been able to help so many people, including myself, absolutely shatter limiting beliefs that
 impede us from experiencing more joy, happiness, internal and external success. I definitely still
 have respect for him given the tech he created as I would most likely not (or at least I believe it
 would take many more years) experience the deep level of experience of life that I currently
 have. Interacting with another human being feels deeper, music feels more intense (in a good
 way) and beautiful, and the various colors in our world seems more vibrant as I been able to

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 perceive reality for the beauty that it beholds rather through the lens of my pity desires and
 envy. I believe that now since now I am able to experience my life in a much better way, that
 Keith has those qualities too since he was the individual who made these tools.



 I want to conclude with the fact that there has been so much change in my life since I became
 introduced to NXIVM material that I am now even in the process of starting a business-
 something I never even dreamed of. Judge Garaufis, please consider the above when making
 your final decision on the sentencing term of Keith; he has done much good for many people.

 Best,
 Gurpreet
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                                                                                   October 7, 2020

 Dear Judge Garaufis,

 My name is Leah               and I live in           Canada. My formal education includes a
 Master of Science degree in Microbiology, and a Bachelor of Science in Molecular Biology &
 Biochemistry joint major with Business Administration. With respect to the NXIVM companies I
 was formerly a Jness facilitator (I taught the all-women Jness weekend), a proctor with
 Executive Success Programs, a Media Analyst with The Knife Media, and Operations Director of
 One Asian. I am now self-employed and I work with various companies delivering professional
 development training, business coaching, editing and administration services.

 I was first exposed to Keith Raniere’s ideas in 2010 when I took a Jness weekend that was
 trained by Nancy Salzman. This weekend was, to be frank, life-changing. It is my opinion, then
 and now, that some of the lessons I learned that weekend changed the entire course of my
 relationship with my husband (then fiancé) in a profoundly positive way. I remember thinking
 that I couldn’t conceive the mind that could come up with a model that answered so many
 important questions. Over the next 7 years, I would go on to study Keith’s model in-depth to
 the point where I could independently train Jness weekends and Ethos classes. I was also a
 participant in the Jness Tracks, SOP Complete, One Asian, The Knife Media and DOS.

 I interacted with Keith directly a handful of times, including a memorable phone call regarding
 One Asian. In 2015, I was on the phone with Keith, telling him about a problem on the One
 Asian team and I was becoming agitated as I described it. Keith interrupted me with a
 pragmatic insight which defused my agitation. He did this with me again in 2017 during a face-
 to-face conversation where I was struggling with how to help a friend whose life was “falling
 apart.” In both cases I was upset, I sought out Keith and I felt he heard and understood me. And
 I felt he offered me a wise perspective to help me move forward, rather than a specific
 instruction or directive.

 In 2017, a friend approached me and invited me to join “the project,” now known as “The Vow”
 or “DOS.” In the very first conversation we had, I said, “I assume this project is led by Keith?”
 and I was told “No, it isn’t.” The second thing I asked was, “Will this in any way come between
 me and my husband? Because that is my priority.” I was again told, “No, it won’t.” I would go
 on to give my friend collateral to hear more about the project and I was so impressed that
 women were gathering together in this way. I will note that I was explicitly told there was a
 brand that would be given to participants and that the design was already set.

 Shortly after I had learned about this women’s group from my friend, it became public within
 our community and online. Then during Keith’s trial in 2019, the prosecution claimed that Keith
 did lead DOS. In principle, I have no problem with Keith being the leader of DOS but for me part
 of the group’s appeal was the supposed all-female nature of it. The prosecution also claimed
 the brand was representative of Keith’s initials. I was very concerned about this because putting

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 another man’s initials on my body would, for me, constitute “coming between me and my
 husband,” which was one of my concerns with DOS in the very beginning.

 All this being said, I never had any experience that supports the accusations that Keith sought
 to use DOS for gaining sexual partners. There was absolutely nothing sexual in my one-on-one
 experiences over the years with Keith (to the contrary, I recall that he often mentioned my
 husband, and this was always natural and respectful). Similarly, there was absolutely nothing
 sexual in my experience of DOS.

 I understand some DOS women have described traumatic experiences and I am so very sorry
 for them. I wish I could gift them with my experience instead, which was empowering but also
 benign. Knowing Keith and some of the others involved in creating DOS, I don’t believe his
 behavior with the DOS women was ever malicious, although I do believe some people have hurt
 feelings, maybe bruised hearts over his actions.

 For myself, I am so incredibly thankful I had the opportunity to study the model Keith created. I
 continue to use the tools I learned to enrich my life and facilitate a strong, healthy relationship
 with my husband and my extended family. I have also been able to use my experience with the
 NXIVM companies to win employment contracts with other companies, which is how I make my
 living. If I had the opportunity to continue taking NXIVM courses or teaching the material to
 others, I would take it.

 Thank you for taking the time to read this letter.

 Respectfully,



 Leah
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   Honorable Nicholas G. Garaufis District Judge
   New York East District
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Re: United States vs Keith Raniere
   18 CR. 204 (NGG)




   Honorable Judge Nicholas G. Garaufis,

   My name is Héctor           Mexican, born in 1953, now I am 67 years old.
   Mechanical Engineer 1970-1975 (Honorable Mention Award) and Graduate in Senior Management
   1985 from ITESM.

   Throughout the University I maintained a scholarship from the ITESM, with success.
   Entrepreneur, I participated and was a majority shareholder in the consolidation and growth of
   Refacciones Neumàticas La Paz from 1976 to 2002, in which we manufacture rock, pneumatic and
   hydraulic drills.



   In 1988 I created and own Sagitta Rock Tools, a company with its own technology to manufacture
   and sell rock drilling steel for mining and construction.


   Part 1


   Some of my personal experiences with Mr. Raniere in early 2002 I took my first ESP training and
   met Mr. Raniere in August 2002 at Pyramid Lake.
   In 2003, I moved my family to Albany to continue ESP education.

   At the end of 2003 I asked Mr. Raniere to train me to run a marathon, to which he agreed. My only
   previous experience was 10K to start with, I did a half marathon in Allentown PA on April 25, 2004,
   with a goal of 1hr 35min, and ran the course in 1hr 38min. I was deeply disappointed that I did not
   make what was qualifying time for the New York City Marathon. Two days later, Mr. Raniere asked
   me, holding me by both hands and looking into my eyes, how did it go? Embarrassed and angry I
   answered, wrong, I did 1 h 38 min. And he said soft but firm "excellent". I was surprised, what he
   said and the way I felt were opposite. Day after day I kept thinking and evaluating the meaning of
   his word. Finally I recognized that for a 51 year old inexperienced runner the time achieved was
   excellent. This one interaction forever changed my perspective on being gentle with myself even
   in my failures. That punishing myself and getting mad at myself is useless.
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   Mr. Raniere helped me calibrate myself on the other side as well, once I did what I considered a
   very good long workout, and shared my results in an "arrogant" mood and said "good". I was
   surprised and replied, just okay? He replied, yes, just fine, I am training you to be great, not just
   good. Shocking again, but true.



   And on commitment and responsibility, near the end of a week I trained 32 miles, 3 miles short of
   my goal of 35. At around midnight on the last day, while a 15 F storm was in the works, Mr.
   Raniere He asked me how the week was. I told him I had 3 miles to go, and he replied, "So you still
   have time to finish your work, like my dad said, bundle up." I drove through the storm carefully to
   the only gym open at midnight and ran the remaining 3 miles. This event taught me to value my
   word and do whatever it takes to keep it.

   In the following years I successfully ran 4 marathons, Chicago 2009 and 2010 and Monterrey,
   Mexico 2006 and 2008.

   He inspired me through the Nxivm community in different areas, while on his birthday celebration
   I did a short triathlon. Later as a triathlete I did an Olympic course in Monterrey on May 3, 2014

   I also sang and played the drums among other things. I had fun and I enjoyed myself.
   I participated in the "writing project" that taught me how a group can work together successfully
   towards the same goal. This experience challenged my previous "working alone" experience.



   By participating in many Nxivm trainings, forums, and personal interactions over the years, 2002
   to 2012, I experienced radical changes in my self-awareness and community work. Working with a
   person specialized in the technology created by Keith I was able to explore some of my limiting
   beliefs, I was able to integrate knowledge and experience joy and achievement never before
   experienced, a brighter new life full of hope and love.

   In SOP I participate in the values of honor, care, protection and justice. This allowed me to lead my
   company and in general my interactions with maturity and firmness.

   For that and much more I will always honor, be respectful and be grateful to Mr. Raniere.
   With his great ability, he could have chosen an easy and privileged lifestyle and decided to create
   technology to help us human beings achieve what we want, transcend our limitations, in a loving
   and compassionate environment, a community. with a goal of interdependence. Dreaming and
   working diligently and powerfully for a better world.

   I heard him speak honorably of even the most incisive detractors. Always honorable, even now.
   When I think of him the words that come to mind are: Honest, Whole, Brilliant Intelligence, always
   ready to help, Cheerful and In Love with Humanity.
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   Part 2


   The following is about Daniela, my second daughter who is extremely intelligent and was used as a
   witness for the prosecution.

   In the early part of her childhood she was generally charming, cheerful, sparkling, and willing to
   participate with family and friends. But she was also stubborn and took advantage of her siblings
   in various ways.
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   Around the age of 13 she began to behave in a way that as a parent I could not understand; staying
   in a dark room for long periods of time, fighting with her mother, fighting with her classmates and
   at various points being rejected by the social groups to which she belonged.

   At the age of 15, she entered the ITESM, a prestigious university and high school, in the International
   Baccalaureate (the most demanding training baccalaureate with less than 20 students). She finished
   the first year and won a scholarship to an elite Swiss school that she got on her own, then changed
   her mind because while she was in her first ESP training in Monterrey, she asked the ESP trainer to
   go to Albany. A few weeks later, I was helping out in the ESP Administration Office.

   A short time later, while she was working with ESP in the administration office, she stole "like a
   game" US $ 5,000, just to show that no one could tell. She later confessed to making them, but the
   decision seemed not to weigh heavily on her; I was surprised because it is incongruous with the
   values that we teach him in the family.

   I rented a place for her in Cohoes and the strange behavior continued, she spent a lot of time in a
   dark room lit only by candles.

   She expressed an interest in learning science subjects and asked Mr. Raniere to mentor her to learn
   some of the subjects he specialized in. One of Daniela's goals was to study for her GED so that she
   could continue her education. Her commitment to demonstrate her learning was to synthesize the
   books with which she was studying.

   Tired of this lie and many others, I, as a father and everyone as a family, including Daniela, decided
   to follow Keith's recommendation, to spend a short time alone in a room in the family's apartment,
   which Daniela could leave at any time (although I don't even think this point was specified; it was
   unnecessary and irrelevant, rather something obvious and consequential to the family lifestyle that
   we led), to allow me to think about what I really wanted (a kind of "go to your fourth to think about
   what you are doing ”).

   I gave my room to Daniela (the main bedroom), her mother, in the meantime, she was in the
   secondary room, in front of the main one, where Daniela was. I began to sleep downstairs, on the
   sofa, with the intention of providing Daniela with the time and space necessary for her to really
   evaluate her actions and direction of her life. I personally bought the errand three times a week with
   the ingredients that Adriana (my ex-wife and Daniela's mother) asked me to prepare food for both
   of them. All the requirements that Daniela asked for were supplemented almost immediately.

   Lauren Salzman, a dear friend of the family, came to see Daniela from time to time to advise her
   and share her wisdom and skills to help Daniela get more of what she consistently expressed that
   she wanted as her life goals.

   What was intended to be a short time to think things over turned into something very long (about
   two years) with no change in Daniela's destructive attitude; constant requests for more
   opportunities and tireless broken promises.

   Daniela was not willing to change her behavior from not putting in effort, lying and being a burden
   to the community. So again the family got together and decided, including her, to return to Mexico.
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   I personally took her to the border, with Kristen Keefe, to San Antonio. After asking her for total
   honesty, again very lightly, she confessed that she had stolen money from my wallet and her
   mother's video game. She also mentioned that she hacked my Facebook account. These acts of theft
   and lies did not seem to weigh on her in the least when confronted.

   In order to provide her security, I coordinated with an employee of my company (who I trust) to pick
   her up at the border, I paid all Daniela's travel expenses so that she could arrive in Mérida, a place
   she chose, and I gave her money to be installed. When we said goodbye, Daniela kept promising to
   finish the work of synthesizing books.

   The book synthesis work was never delivered, not a single page.

   While in Merida, I flew in to visit her four times, to make sure she was okay, living well, and with the
   desire to build a healthy father-daughter relationship. It is sad to say that in my perception, the vast
   majority of our interactions involved manipulations of information on her part, lies and hidden
   intentions. Later I understood her true intention she wanted to side with her against Mr Raniere.

   The fear that the United States prosecutors through agreements with the Mexican government
   would really threaten my personal safety and my livelihood prevented me from testifying the truth
   about Daniela.

   The perception of this single event is so twisted and wrong that it makes it impossible for Keith to
   get a fair trial with this lie at trial. This lie alone, not to mention other lies.

   Please consider these facts when making your decisions.



   Respectfully




   Héctor
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                                                                                       07 October 2020




   To whom it May concern:



   Within this document, I, Jorge Salvador Rea Hernández, would like to share my experience with
   Keith Raniere and my testimony regarding the programs taken in the organization.

   I joined the ESP system in 2016 and my first experience was traveling to Albany New York, where
   since my arrival I was welcomed by a united, kind and compassionate community, despite having
   no background regarding programs or the community.

   The change that I achieved in my life was radical, I was able to work on situations that I had been
   dragging for a long time and that I had even dealt with Psychiatrists, I was able to change my way of
   seeing life, living with the people around me and especially the understanding about myself, after
   this experience and by putting the acquired skills into practice, I was able to see the potential of
   what I learned to be more compassionate and empathetic with the people who collaborated with
   me and learn to take stress to a different level that can be healthy and productive.

   Regarding my coexistence with Mr. Raniere, it was limited, but in the few opportunities I had to be
   close to him, he transmitted to me a cheerful, respectful and interested person in the good of others,
   a clear example is having been in a match of volleyball where one of the people got hurt by falling
   into bad position after a jump, his reaction was remarkable when he neglected the game and looked
   for a way to support the person injured, to whom he kindly offered help and with all due respect he
   inspected him to be able to help him get up and feel better, at all times in all the different events
   only I sensed that kind of attitude.

   My experience in General with the community was always integral, it was mutual support and
   candid coexistence.



   Serve this document to share my personal experience.



   Sincerely



   Jorge Salvador Rea Hernandez
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Note for Reniere 9-28
1 message

Sterling Lebaron                                  >                                                Mon, Sep 28, 2020 at 8:55 PM
To: Sterling Lebaron <

  Keith Reniere's behalf.

  Addressed to:
    Honorable Nicholas G. Garauﬁs
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  United States v. Keith Raniere, 18 Cr. 204 (NGG)


  Dear judge Garauﬁs.

  I thank you your honor for hearing my letter.

    My name is Sterling Lebaron. I live in north dakota. I run a trucking company here hauling liquids for the oilfeild. I also
  build homes here with a second company.
  I was born in a community in mexico created by my ancestors a few generations back. I went to high-school in utah and
  moved to north dakota afterwards. there I started a company after being inspired by a program created by keith Reniere
  call ESP. 16 day.
  I am 25 years old. I married at age 22 and now have a beautiful child with my wife.

  I want to be as real as possible with how i feel about Keith Reniere.
  And also, I do hope this letter helps you see him in a good light. I'd like nothing more than to see him have the least
  amount of time sentenced possible. The thought of seeing Keith locked up feels very very sad to me after experiencing
  the good this man has poured into my life.

  The curriculum Mr. Reniere has created is nothing short of amaizing. I've never experienced something that could teach
  me more about myself and others.
  My life with family is largely more real, open and loving.

  Because of the courses i took with keith ( ethisist, 16 day esp., sop weekend and the media program) I am more honest
  with myself and others. I am better at business.
  I am more in LOVE with life. No book could give you the experience of learning and growing as quickly as his programs
  did for me. And I have read hundreds of books.

  Keith's programs game me tools that I use to this day. He helps improve my life even still. The more time that passed the
  deeper my admiration grows for him and what he does. Good results are undeniable.

  Keith to me is also the man who can teach someone how to get what they want. And even better he helps you
  understand why you want it. I am a more critical thinker thanks to keith Reniere I understand more of what I WANT.
  What more needs to be said. That's all any of us want.

  Yet I have more. I am completely amazed by Keith Reniere. I don't know a man who has showed more character of mind.
  And more honor for love. To me, Keith is the man who does something after committing to it without fail. I lived in albany
  for a period of 3 months and got to play volleyball along side kieth. He was always committed to showing up on time and
  demonstrated his ability to keep a strong word. He always smiled at others and was always willing to take time aside to
  give me advice on how to better my skills seeing as he is a great volleyball player. His interactions with everyone was
  genuine and loving.


  In his courses I learned that my drive for life was to gain the approval of those i admired. Because of this I was not able
  to be real or loving with myself. His program showed me how to live life based on what feels right to me. I'm now living
  life for me instead of for a lie. Words can't express how beautiful that is to me. My life will ALWAYS be different and way
  better. This kind of good done for me should not be over looked. That is one of my favorite examples. But I have dozens
  of them similar. Like the way his program taught me to see my own inconsistencies with relationships. I was able to re-
  build relationships that would have never been good without it. Like my brother and my mom. My dad and i get along way
  better. These are things that are very good and i think it took a lot of emotional honor and love to build a program with
  such perfect results. I want his programs to be a part of my children's lifestyle and apart of mine.

  I am sad that these programs are not running at the moment. I wanted to continue with them for the rest of my life and
  wanted my kids to experience it and enjoy the amaizing learning capabilities.
  No matter what happens from here nothing will change how proud I am and always will be to be a part of the community
  we experienced that was inspired by Keith.

  Despite Keith's conviction I still have tremendous amount of respect and admiration for him. I ask for mercy on his
  behalf. I ask that the court impose the lowest sentence permitted by law. A life is only so long and lots will miss him.


  It might help you dear Garauﬁs to know that i wish the world had 10 more of this man Mr. Keith Reniere in it. The fact that
  there is someone who feels this way should be considered.                                                          EXHIBIT

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I send my appreciation to the effort you put into this case16577
                                                            and hope this letter helps.




I give permission to use the letter publicly by signing it




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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


 My Name is Wayne LeBaron, I was born and raised in Northern Mexico in a small Mexican-
 American Community, My family and my community raise pecan nuts and cattle for a living.
 We are a very productive community that has suffered much loss to organized crime. My
 younger brother Eric was kidnapped several years ago, my entire community shut down and
 went to the capital to protest. We received much coverage by national and international media.
 My eldest brother Benjamin was murdered 2 months later.

 I first heard of Keith Raniere 1 week after Eric was Kidnapped. He sent people to do several
 interviews with my mother and several other family members, I was later invited to Albany
 along with anyone from my community who wished to see what Keith would tell us, word was
 that he had ideas that would help resolve our problems.

 When I first met him he told us that what we did was a huge, that we exposed the Government
 and exposed the criminals by peacefully protesting.

 Keith taught us much about violence, fear and apathy. My experience of him was truly a bright
 intelligent man who understands people and the world and its problems, I was especially moved
 at how deeply he wants to help the world be a better place. Keith along with his team of people
 took us in and spent many many days, much work and effort to teach us for 4-5 weeks what he
 believed would help us deal with our safety issues in a area of the country of Mexico that is
 overtaken by criminals and do it in a nonviolent but firm way. After Keith’s first advice to us,
 My older brother Benjamin formed an organization called SOS Chihuahua
 (Sociedad Organizada Segura de Chihuahua). Secure Organized Society of Chihuahua in
 English.

 The Mexican people were amazed that we were able to get the government to react so quick and
 with so much zest to resolve our problem. They came to us dozens of families every day to ask
 us how we managed such a reaction, per Keith Raniere’s advise, Benjamin and other family
 members came up with a model to organize communities against organized crime, this had
 tremendous success, members from all neighboring communities joined SOS Chihuahua and in 2
 weeks gained 4,200 members, within a few weeks 2 different kidnapping gangs were caught by
 the town people of Asencion and Buenaventura.

 Only a few weeks passed when 17 men surrounded Benjamin’s home, terrorized his family, took
 Benjamin and his brother in law Luis who ran to help him 3 miles outside town and murdered


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 them both.

 Since then myself and a few family members continued going to Albany NY to take more
 courses.

 Keith continued to help us come up with ways and strategies to solve many of our society’s
 problems and while Mexico is flooded with violence our community has had 10 years of growth
 and peace although we are always on the lookout. I must say that in November of 2019, there
 was another attack on my family where women and children were killed and we have had huge
 support to deal with this mainly due to what we learned from Keith. We have been very
 successful in exposing all the criminals involved including the stagnant government institutions.

 I truly believe that Keith is a great human being who has done so much to help my community
 and who has such a real desire to solve problems non-violently in the world and thus change the
 world for better.

 I saw in Keith an unbelievable commitment to do the right thing.

 Keith has so much to give to the world, everyone I know of who took his intensives have
 expressed how much their lives have improved and changed for the better. Without doubt taking
 his intensives has been the greatest thing by far that I have done in my life.

 I humbly pray that the good in Keith will be seen and that you will take these things into
 consideration.

 Sincerely

 Wayne N LeBaron
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 Honorable Nicholas G. Garaufis United States District Judge Eastern District of New York 225
 Cadman Plaza East Brooklyn, New York 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


 Dear Judge Garaufis,

 My name’s Juan Luis Lopez Fons and I was a member of Executive Success Programs (whose
 parent company was NXIVM) from May of 2005 up until it’s closing in April of 2018. I also had the
 privilege to attend Keith Raniere’s trial a total of about nine times and got to see first-hand a lot
 of what went down during its six weeks.

 I am not going to talk about whether Keith did or didn’t do the things he was accused of. The fact
 remains that he was found guilty by a jury of his peers and he will experience punishment
 according to our laws. I would like to speak about Keith Raniere’s character and how his teachings
 impacted my life, my experience of myself, others and the world.

 In order for the changes I experienced to make sense to Your Honor, I would like to first describe
 a bit of my upbringing. I came from a wealthy family in Mexico and grew up to become,
 seemingly, a self-assured man with lots of options with which to have a successful career and life.
 It was actually quite the opposite. Due to the way I was brought up, never learning the value of
 work, exchange, failure and effort strategies, I grew up to become an entitled, prideful and not
 very skilled man-child. I dropped out of college, struggled to get jobs and always expected
 someone else to help me make ends meet. The worst part of it all was that I didn’t even know I
 was this type of person. All I knew was that I wasn’t happy nor getting the things in the world I
 “should” be getting as a 23 year-old. I was then introduced to Executive Success Programs by my
 brother and my world changed, absolutely, for the better.

 Within one year of taking the courses, I was able to become financially independent from my
 mother, who up until that point of my life, had provided everything for me. Thanks to Keith
 Raniere’s work, I gathered the confidence in myself to go out and invest my time in a trade (I
 became a film director, editor and videographer). I eventually opened my own video production
 company, Emotivo Productions, about four and a half years ago. Thanks to ESP, I was able to
 figure out why my romantic relationships weren’t working and have been in a committed
 relationship for the past six years now (I have been married four out of those six years as of the
 date of this letter). Thanks to the courses in ESP I experience much more joy and love in my life,
 less stress, less emotional reactions to people’s actions, thoughts and emotions and a deeper
 ownership and experience of responsibility, self-esteem and external and internal success.

 Relationships to friends and families have improved and strengthened, confidence in myself has
 risen and am just grateful for my life and all that I have experienced, experience and will continue
 to experience for the rest of my life. ESP caused life altering, permanent, positive changes in me
 and I will forever be grateful to its two main creators, Keith Raniere and Nancy Salzman.

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 I am also deeply grateful to every coach and trainer I ever worked with during the dozens of
 trainings I took and taught during my time in Executive Success Programs. Simply put, my life is
 better because of all the time I spent in ESP and because of the people in that organization. I
 consider it the most compassionate, empathic and caring group of people I have ever met in my
 life and am deeply honored to have met them and called most of them my very good, life-long
 friends.

 As I mentioned earlier, I am a video producer and was one of the few videographers that recorded
 a lot of Keith’s life both in his quiet and public moments. I can honestly say, from the thousands
 of hours I spent filming him, he was nothing but a caring, honest, humble and compassionate
 man. I never saw him treat any woman or man with disdain. Never saw him use fear, anger,
 manipulation, obligation, threat of punishment or actual punishment with any man or woman,
 ever. He was always present, attentive, mindful and caring with every person I saw him with. And
 I saw/recorded him with hundreds of people over the years. He was always consistent in his
 beliefs and I honestly believe he strove to do the right thing according to his ethics and morals,
 which I think are extremely high.

 I saw Keith help women and men deal and overcome deep, really painful and emotional trauma.
 I saw him coach people in sports, science and in the arts. I saw him develop curriculum and
 practices to help people be more joyful, responsible, compassionate and honorable. I saw him
 develop methodologies to help people deal with conditions deemed incurable by the medical
 community such as: Crohn’s Disease, OCD, PTSD, allergies and even Tourette’s Syndrome. I video
 documented many of these cases and saw the changes in these people’s lives. Permanent
 changes. There wasn’t a program that he developed, and I took dozens of them, whose core
 didn’t revolve around love, joy and responsibility.

 I am better man, a better Juan Luis Lopez Fons, thanks to him and I will be forever grateful for
 the immense value I experienced from knowing him and implementing his many creations in my
 life.

 Things that came out during the trial made me question and look back at all my years in ESP and
 wonder if I actually supported a “cruel and evil” man and, after a lot of examination and
 introspection, after taking time to get myself out of a fear state and really dig through all my time
 and experiences within ESP and talk to many of the people involved in this case (directly and
 indirectly) I still stand behind all the good actions and effects I saw and was part of in this
 organization and vouch for the good nature, actions and positive intent of the people trialed and
 not trialed in this case, including Keith Raniere.
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 Thank you so much for taking the time to read through my letter and for considering my
 experience of Keith Ranier and his many programs, tools and curriculum. Thank you for being the
 steward of this process called Justice. Let me know if there’s anything else I can do to help with
 this.

 Best Regards,

 Juan Luis Lopez Fons
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 Honorable Nicholas G. Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


 Dear Judge Garaufis,

 My name is Roy Martina and I work as a Content Manager for a small digital marketing agency.
 I attended a 5-day intensive course from NXIVM in December of 2017 at their location in New
 York.

 While I didn’t meet Keith Raniere personally, what I can say about my experience is that the
 group of people I met during this personal development course were some of the kindest,
 happiest individuals I’ve ever met. What I was taught was essentially a new perspective through
 which I could better understand my emotional state and live a happier life.

 I’m writing this letter to ask for leniency in Keith’s sentencing because my experience with
 people who have associated with him was so positive, I have no choice but to assume that he
 and his system have a positive effect on all of those around him.

 Thank you for your time.


 Regards,




 Roy Martina




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 Honorable Nicholas Garaufis
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

 Dear Judge Garaufis,

 I am a 42 year old married mother with a young child and I have known Keith Ranierie since I
 was about 23 years old. I grew up in Alaska, home- and unschooled from fourth grade, entered
 a state university on academic scholarship and worked as a Resident Assistant as a freshman
 in college while completing my academic work, maintained a 3.0 or higher GPA, while working
 part time and supporting myself independently from my parents. I married my high school
 boyfriend and was divorced by age 23 once I realized he did not, was not able, to support my
 dreams and life ambitions to restore a love of learning to our mainstream education culture. I
 completed a B.S. in Sociology while working full time, and just paid off the last of my student
 loans.

 I met Keith after traveling to Albany to participate in the community that was growing up around
 his and Nancy’s work with Executive Success Programs. I had taken my first training in Seattle
 while living in Portland, Oregon, and within months finalized my divorce from my first husband
 and returned home to Alaska to work and navigate my way into adulthood. I was almost
 immediately transported back into my youthful optimism and confidence in my first training with
 Nancy in Seatlle, but in other ways devastated by my sudden and immediate realizations about
 how much work I needed to do to grow if I was going to be capable of living the life I imagined I
 could have.

 I have always been fascinated and deeply moved by Keith’s perspective on things, often
 wondering why he did or said certain things. One line statements he said to me over the years I
 lived in Albany continue to echo with me in my daily life decades later and have brought
 immeasurable light and faith to my darkest hours and struggles. Once while explaining to
 someone why I didn’t wish to return to live in Albany, I found myself attempting to “play nice” to a
 woman’s insistent pressure to return, among a group of friends watching me and listening. He
 overheard from across the room and almost sternly said audibly enough for everyone to hear,
 “Megan, don’t lie!” I was immediately embarrassed that he would say something like that to me,
 and publicly, but in an instant I was immediately able to recognize the deeper truth in myself and
 assert my confidence and will to resist her pressure - that I didn’t wish to return for many
 reasons, feeling immense relief that Keith understood my situation, my reasons why, and had
 intuited what I needed to hear in that moment to hold my ground calmly and with confidence.
 That one lesson has been an immense support to me in the years since, helping me recognize
 in myself what is true to me and what I can do to stay the course in the toughest of
 circumstances.

 Another time he asked how I was doing in my work and I remember feeling sad at his question
 as I was working so hard and still not feeling satisfied or happy. He looked at me for a moment
 and asked, or said, quietly, “What did the bear see at the top of the mountain?Just the other
 side of the mountain.” Again, decades later I still remember this and wonder in awe at his ability
 to intuit the right metaphor to help me identify for myself what I’m choosing to do, and why or
 why not I would want to continue. I grew up in Alaska, so bears have many deep layers of

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  meaning and significance in my life - they toil alone, they must survive the winter, they can be
  fierce and yet so universally beloved. All of this meaning has unwrapped itself in my heart and
  mind over the years and still beautifully summarizes daily challenges in feeling my healthiest
  and happiest.

  I especially love the Jness curriculum and the reputation it generated for women being nicer and
  more understanding of the men in their lives after experiencing it. Shortly after my first weekend
  session I became involved with the man I have now been married to for ten years. Over the
  years I continued to participate in weekend and week-long sessions, finding myself happier and
  more focused in work and relationships each time. When the day to day monotony of small
  office politics became exhausting, I would return to Albany for a fresh bolt of energy and
  perspective.

  I organized and hosted several Jness weekend intro sessions in my home and eventually found
  the online slander too much to continue. After several years of having almost no involvement
  with the organization, I relocated to Florida from New York to take a ten-month position at a
  small private school. Due again to the online slander, where I was now included by name, I was
  shortly after terminated from my position and endured an onslaught of gossip and rumors that
  have nothing to do with me or my actions.

  The path that Keith has led has never been easy, but it has brought more aliveness and joy to
  my experience. I have encountered conflicts with every person along the way, but the
  development of my own awareness and ability to adapt is thanks in no small measure to the
  kindness Keith has extended to me over the years. When my mother was on life support, in the
  final weeks of her life, and I had to make medical decisions on her behalf, Keith’s efforts to
  support my family in difficult end-of-life decisions was enormously helpful. He researched and
  shared with us articles about methods to honor the dying process, and what approach would
  generate the least pain and distress for the dying. These big questions were so much more
  important to my healing than anything anyone else was able to offer me during that time.

  I have learned from my choices along the way and have felt my own self-respect grow as I
  navigate my values and integrity, striving to be the person I aspire to be. I am happier in my
  personal relationships, feel more harmonious in the work I do (as it increases in difficulty in
  these uncertain times), and find clarity and resolve by reflecting on the ways Keith’s work
  benefits my life and my sense of meaning and purpose. This the world needs more of,
  especially in times like these.

  Keith has had an immense impact on my life, one for which I am so grateful and will forever
  appreciate in helping to bring me more fully into my best life. I am deeply saddened about the
  events that have led to his current situation. Despite his conviction, I continue to think of him
  with deep respect for all that he has done to help make life so much more beautiful and full of
  vitality for so very many of us, still.

  Respectfully,




  Megan Mills Hoffman
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            Honorable Nicholas G. Garaufis
            United States District Judge Eastern
            District of New York 225 Cadman
            Plaza East Brooklyn, New York
            11201

                             Re: United States v. Keith Raniere, 18 Cr. 204
                             (NGG)


            Dear Judge Garaufis,

            My name is Michele and I am here to share my perspective with you regarding my
            personal experiences with Keith Raniere.

            I am a native New Yorker and went to one of the country’s first historically integrated
            schools here for ten years before attending boarding school in Connecticut and then
            college in California where I graduated with a degree in International/Intercultural
            Studies. Since completing my studies, I have spent my time working in agriculture,
            education, and hospitality. My passion for these fields lay in my desire to always take
            care of people and the joy I experience in working with my hands and body to care for the
            earth.

            In the spring of 2013, I was about to leave my position as diversity director at a boarding
            school when I was introduced to Executive Success Programs (ESP). At the time, I was
            in pursuit of anything that could help me achieve my vision of creating a school and
            community where students, teachers and all involved felt safe enough to be their full
            selves, without fear. After leaving the school, I decided I would begin a journey to gather
            as many tools and mentors to help me launch my own school/institution with a focus on
            community, supported by the land.

            What little I knew about ESP at the time seemed to be in line with that I was looking for
            to help me both professionally and personally. In my quest to be a more effective
            diversity practitioner and education leader, it became apparent that fear seemed to be the
            barrier between humans being able to relate to one another at the most human to human
            level. It was fear that was present when I dug underneath issues of race, gender, and class

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            tensions that arose at our school and, so it seemed, everywhere. It was then that I knew I
            needed something to help me address my own fears to be the most effective leader and
            change maker I could possible.

            I'd been to all the conferences, was always reading a book to further my knowledge and
            actively sought mentorship from professionals in my field to guide me, but never did I
            encounter a methodology that broke down the nature of fear (and other emotions) and
            then laid out a series of steps to overcome it or at least mitigate it. I didn't know how ESP
            would help me do this, but it felt worth checking out knowing there was a chance I could
            get closer to answers I was looking for. I truly wanted to help people overcome fear in
            their lives and I didn't know how to do it myself, so I knew my work would always fall
            short if I didn’t explore this route further. ESP was my first step in that direction.

            One of the first things I did once I heard about ESP was look it up on Google. My heart
            began to race when the word 'cult' popped up in several places, but I took my time and
            read a few articles and blog posts that came up. Many of the things I read mentioned Mr.
            Raniere as an ill intentioned person and that all of his companies essentially brainwash
            people. I'd met someone who introduced me to the course and my interactions with him
            were completely counter to what I was reading about people who were involved with the
            companies and associated with Mr. Raniere. I'd also taken a number of courses in college
            that trained us to read the news with a critical gaze and I ultimately didn't believe a lot of
            what I read and felt more mistrusting of the people writing than of Mr. Raniere, ESP and
            affiliated companies. I was mistrusting of these blogs and articles because they seem to
            insert a great deal of hate and prejudice that seemed unnecessary, immature and hostile. I
            also realized in that time that I didn't know what brainwashing was and had no association
            for it except what I'd maybe seen on a cartoon or TV show where someone is strapped to
            a chair in a dark room in front of a bright screen. It seemed highly unlikely that that's how
            I would spend my five days in the training. If nothing else, I wanted to draw my own
            conclusions for myself and still decided to enroll in the five day introductory intensive.

            My first introduction to Mr. Raniere was through my experience with the ESP curriculum
            he created and hearing about him second hand from the facilitators who knew him. I went
            into my first training with my eyes peeled for any sign of the things I'd read online. But I
            never found it, even to this day. By the second day of the five day intensive, I'd already
            had a more profound experience than what I was expecting and felt I had found what I'd
            been looking for. What I got in that first training was a deeper understanding of myself
            and thus a clearer understanding of all humans. It felt like a ten ton weight was lifted that
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            I didn't even know I was carrying around. I didn't feel so angry anymore, especially with
            regard to the social justice work I was doing and some relationships I’d be struggling with
            for years. I didn't feel that my life needed to be dedicated to fighting the 'man' or the
            establishment anymore. It became evident to me that instead, I wanted to dedicate my life
            to building more humanitarian focused spaces (schools, restaurants, etc.) and being part of
            anything that invited people to be uninhibited in the expression of their humanity.

            To this day, I can say that the curriculum was some of the most profound material I have
            ever encountered. I began to deepen my understanding of myself and how to sculpt
            myself over time into more of the person I wished to become. I have always felt a calling
            to be in service of others and do anything that lifted the human team. In my experience,
            the curriculum encouraged me to deepen my practice of compassion and understanding
            both with myself and others. I found myself constantly inspired by those around me who
            felt driven to do the same and woke up each day asking themselves how they could move
            themselves a step closer to being their best selves.

            Since the time Mr. Raniere and the companies of NXIVM were being investigated, I have
            spent a lot of time considering my experience of him and my time with the companies and
            the people I worked and interacted with. I have also spent a great deal of time reading
            and digesting the transcripts from the trial, government filings for the case, and the media
            reportings on the situation. I am very open to the idea that I am incorrect in my belief of
            good intent and actions of Keith Raniere and his enterprises. But to this day, I still have
            not been presented with a logical justification for the accusations against Keith Raniere,
            his co-defendants, nor any of his companies, that makes sense to me against the data I
            know and my own personal experience. I was a voluntary member of DOS and gave a
            lifetime vow to a select, few women, to mentor and guide them toward the pursuit of their
            goals and dreams. I know the truth of what this network of women was about. And it had
            nothing to do with sex nor obeying a man.

            Nicole, one of the government’s key witnesses in Mr. Raniere’s trial, was a friend of mine
            and we were both invited into DOS by Allison Mack and therefore spent a great deal of
            time together through our time in DOS. After I read her testimony from the trial, I
            realized how catastrophic the absence of the women in DOS who benefited greatly from
            their experiences, was. The lead prosecutor at the time, Moira Penza, informed my
            lawyer that if I testified at court before meeting with them again, her office would charge
            me with perjury. I wanted to speak, I wanted to share anything I could to clarify what
            was becoming a dangerous misunderstanding. However, the government’s threats
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            unfortunately worked, for myself and many. It is only now that I feel strong enough,
            finally, to say the truth, even with the risk of retaliation from these prosecutors still
            present. I believe in the constitution and upholding the rights of all people and ask that
            you execute the law according to your oath when considering your sentencing of Mr.
            Raniere.

            I am writing this letter because my experiences of Mr. Raniere don’t come close to his
            description as criminal the government has claimed. As a former student and facilitator in
            the companies Mr. Raniere helped develop, I am here in a sea of dark waters to hopefully
            shed some light where it has not been shone since the investigation began. I am writing
            this letter, despite the social concequenes, hate and discrimination that may increase in
            my life because I believe Mr. Raniere really, above all else, cares about this world and all
            the people who are apart of it. I've never known him to communicate or do anything that
            wasn't driven by that desire or from a place of hate or malice.

            Since the fold of the companies and arrest of Mr. Raniere, I have continued to draw on the
            experiences I had during my five years with the companies and community and the
            wisdom shared by Mr. Raniere. All my experiences in those five years, and since,
            continues to deepen my compassion and understanding of myself and all of humanity. My
            greatest take away from my experience has been the question of how can I take more and
            more responsibility for my actions and reactions to be less dependent on the desires and
            fears of others so I can be a more grounded person. I do this so I can be a more self
            sufficient person who can then be available, emotionally and otherwise, to be of support
            to those I love. For this, I have much to be grateful for and Mr. Raniere is most certainly
            someone who's had a tremendously positive impact on my life based on his choice to
            create so much curriculum that helped me deepen my understanding and experience of
            love and compassion.

            I thank you for your time in reading this letter and hope it helped in giving you another
            perspective on who Mr. Raniere is and the impact he has had on my life.

            Regards,

            Michele
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  Honorable Nicholas G. Garaufis

  United States District Judge

  Eastern District of New York

  225 Cadman Plaza East

  Brooklyn, New York 11201



  Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)




  I’m a 46 year old teacher who was born and raised in Costa Rica. I teach English, music and train staff at
  call centers like Hewlett-Packard and dxc technologies. studied to become a music teacher and have
  been passionate about education since I was a little boy. I've had the honor of training people of all
  walks of life and have had a positive impact in their lives by teaching them skills that were unknown to
  them and giving them the right tools to acquire a better job and improve their living conditions.

  I came to know Keith about 5 years ago due to the fact that I have a condition called Tourette’s
  syndrome and had heard from several friends that had taken courses at ESP. that they had been taught
  how to manage their emotions better and deal with their problems in better ways; they told me as well
  that they heard that ESP was attempting to treat people who have Tourette’s syndrome with a new
  technique they had come up with. This new technique involved only speaking to the person who had the
  syndrome and attempting to acquire the root causes for the emotions that generated the nervous tics
  which are the most difficult symptoms involved in tourette’s.

  I managed to contact several trainers who then let Keith Raniere know about my condition. It was
  because of Mr. Rainere’s great compassion and desire to help others that I was given the chance to go
  to ESP. and take several courses to try and better my condition. Again due to Mr. Rainier’s great
  empathy and desire to help others I was given the chance to take these courses free of charge as I did
  not have the means to actually pay for them.

  Through my time in ESP I had the great honor of meeting Mr. Raniere and was able to spend some time
  with him and even play volleyball together. During this time I was able again to see that Mr. Raniere was
  a man with great compassion who cared very deeply for others and was always attempting to help all
  those who where in need around him. it was because of his great kindness that I was spared the
  payment of all the courses I underwent.

  To this day the teachings and the tools that I was provided with, changed my life all together. As my
  Tourette syndrome has diminished enormously since my time there, nowadays many people who even
  work with me side-by-side spend months without really noticing that I have Tourette syndrome, several
  people when told that my Tourette syndrome was severe and it was very difficult to work next to me
  actually do not believe that to be true. So today I go to bed and have no muscle pain no joint pain no
  throat aches no headaches that used to be very common because of my condition. I was also appointed
  a personal coach that would contact me upon request and had a weekly session with me to try to help

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  with any difficulties that I encountered, and was also contacted very frequently to make sure that I was
  still doing good and my syndrome was well under control. This was all made possible because of Mister
  Rainier’s desire to help others and his wish to improve peoples lives, His great empathy and concern for
  others

  It is because of this facts that I implore you your honor to be as lenient as you possibly can with Mister
  Rainier’s sentence. Because I believe he can still help others and can have a positive impact in society.
  Even more so now that my little ten-year-old son has been diagnosed with the same syndrome as I.

  Now more than ever I feel that it is imperative that Keith is given the opportunity to positively impact
  others lives and keep helping people who can still learn from all the tools and techniques developed by
  him and his staff members. Now more than ever I know that my little son needs Keith’s help. So again
  your honor I beg of you to please find it in your heart to sentence Mr. Raniere with the shortest briefest
  time in prison possible.

  Trusting that you will have the wisdom to find the best resolution for the common good and well-being
  of our society. Thank you

  Jose Manuel Ospino Veana

  Id 108660707 San Jose Costa Rica

  December 31st
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  December 1, 2019



  Brandon Porter, MD, PhD



  Honorable Nicholas G. Garaufis
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza east
  Brooklyn, New York 11201

  Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)

  Dear Judge Garaufis,

  I am writing to share information about Keith Raniere and NXIVM that was not
  represented in the press, nor his trial. I hope you consider this information when
  considering his sentence. I will give you a little background about me and the reasons I
  participated in NXIVM. The reason I want to share this information is that NXIVM has
  been described as a criminal organization. It was not a criminal organization. It was an
  organization that valued people and helped to serve as an example for a humanitarian
  organization. Keith Raniere’s inspiration and ideas provided the foundation for this
  organization and its techniques provided significant benefit to many people.


  I met Keith Raniere in the summer of 2001. I was in the midst of my MD/PhD training.
  At first, I was taken aback by the high accolades Keith was given in the small
  organization. As I gained more benefits from the trainings, I could see that people
  appreciated Keith relative to the amount of benefit his life’s work, Rational Inquiry,
  provided them. I had a few direct interactions with Keith during the second part of a 16-
  day intensive training. In my experience, he was kind, humble, thoughtful and helpful. I
  was impressed that he and Nancy Salzman could develop a process with deep
  philosophical grounding that a wide range of people could take in, enjoy, and benefit
  from.

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  I became a coach in ESP because I like to help people and I noticed that the Rational
  Inquiry tools helped people in ways I hadn’t thought possible. Depressed people were
  putting away their depression, anxious people were putting aside their anxieties, loving
  people were becoming even more loving. All of these wonderful results were simply
  cultivated through ESP’s consistent system of discussing morality, ethics, and what it
  means to be a human being. I was impressed and wanted to help others with the natural
  struggles that come with being human.


  I came to know Keith more when I moved to Albany, NY in 2009 to work as a physician
  at a local hospital and to help set up ways to measure the effects of the NXIVM
  trainings. I played volleyball with Keith and the volleyball team once or twice a week. I
  had many opportunities to see him interact with a variety of people, including his close
  friends, ESP proctors, coaches, and students. He was always gracious and kind. He
  would give people undivided attention. People would seek his advice on a wide variety of
  topics and he readily acknowledged when he didn’t have the specific type of knowledge
  the person was seeking. His usual response to people seeking advice was to not give a
  definitive response. Instead, he helped people see different options so the individual
  could have the experience of evaluating their situation with their own values and making
  their own decisions on their own personally challenging topic.


  Over my 17 years participating with Executive Success Programs and NXIVM, I got to
  know hundreds of coaches (including the professional coaches) and students. In my
  experience, these people were dedicated to helping other people realize the best version
  of themselves. We did this by helping people develop the tools necessary to build
  positive traits or put away negative traits. In the process of this, the NXIVM curriculum
  also helped us find the individualized positive reasons we did things so people could
  actively build their conscience around their most important values. Also, the curriculum
  helped people find immoral things we were doing so we could see the negative
  behaviors, acknowledge their effects, and fix the negative behaviors if we wanted to fix
  them. Many people feel bad about themselves because we fill our lives with doing the
  things we know, in our own judgement, to be bad. The curriculum helped us recognize



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  these behaviors, develop a plan, and execute the plan to change these behaviors for the
  better. When people chose to address these behaviors, they felt truly liberated.


  In my experience, the NXIVM coaches and students were not a group of bamboozled
  acolytes. NXIVM included a wide array of people, many trained in the highest echelon of
  universities. They were excited to explore important ideas including the natures of
  honor, noble actions, ethics, morality, love, responsibility, and conscience. The people of
  NXIVM were interested in figuring out how to build joy in their lives, even though life,
  in general, includes significant emotional pain. In my experience, it was an absolute joy
  to explore important philosophical ideas together and share in the process of self-
  discovery together. The foundation of the NXIVM community was a celebration of how,
  together, we each contribute to each person’s self-discovery process. This is an
  important point because the foundation of NXIVM wasn’t a celebration of Keith Raniere
  as a demigod, in the way the media and government portrayed. People appreciated
  Keith’s contribution to their lives relative to the amount of benefit he provided them.
  They appreciated the other people in NXIVM relative to the amount of benefit the other
  people provided them. In general, it was a group of people who appreciated each other,
  greatly. He designed the organization to be grateful for each person’s contribution to our
  lives. In my experience, the organization improved in its capacity to do this, each year.


  The company Keith Raniere and Nancy Salzman created, Executive Success Programs,
  was dedicated to helping people grow ethically and compassionately. People were able to
  use the company structure as a place to make their mistakes (at the expense of the
  company) in the process of discovering and developing the type of person they wanted
  to be. The company’s focus was upon helping people and upon building an ethical,
  humanitarian business. Keith helped inspire an environment where people could
  explore important philosophical questions in relationship to their own, personal moral
  convictions. The goal of the system was to help each person find their own beliefs
  (conclusions) that were inconsistent with their highest ideals, and then the person could
  make their own decision about these inconsistent beliefs. The process is both elegant
  and humanitarian because it doesn’t simply replace one’s beliefs with another person’s
  beliefs. The individual makes their own conclusions based upon their own, higher moral

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  values. The unique curriculum helped thousands of people improve their lives and the
  lives of those around them. The ethics of the people in the company improved with time.


  These principles; personal responsibility, ethical evaluation, building consistency in
  one’s beliefs, and doing what one determines is right (based upon one’s ethical
  evaluation of the situation) were common threads in all of Keith’s trainings I
  participated in. This included ESP, Ultima, SOP, JNESS Tracks, SOP Complete, Ethicist,
  The Source, and Exo-Eso. As a consequence of these trainings, I experienced
  improvements in my roles as a physician, father, husband, and friend. I gained greater
  capacity for empathy and compassion. I was better able to uphold my values in the
  context of stress. My love for the closest people in my life increased. My capacity to help
  people through difficult times increased. I saw similar, if not better, improvements in
  my friends who used Keith Raniere’s trainings in their own lives. I saw many people
  move towards a curiosity driven, scientifically minded, compassion-oriented process of
  interacting with others. In my experience, the positive changes in people were profound
  and specific to the person and what they wanted to improve upon.


  The people in NXIVM were not perfect and acknowledged this. However, I saw people
  grow morally, over my years of participation, by putting away their anger, developing a
  compassionate perspective, and performing more loving actions. This was not an
  authoritarian system and sometimes people would misunderstand certain ideas and
  Keith’s next training compassionately addressed these misunderstandings and provided
  the opportunity for deeper understandings for important principles. In my experience,
  each new intensive helped cultivate an improved ethical, moral direction for the
  organization as a whole.


  Keith was a mentor to me. I trusted his judgment when it came to helping people
  because he was very good at helping people. I saw him interact with hundreds of people.
  He is able to figure people out quickly and plant seeds that inspire curiosity and help
  people discover new understandings of themselves. I have met no other person with his
  skill in helping people in this way. These skills are not inborn. They were created over
  time and required significant insight into the nature of himself and humanity, in

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  general. This is not something people can learn in books. He inspired people to make
  people the most important value in their lives. He inspired us to be willing to love and to
  take the difficult path of doing what is right. In my opinion, this is a particularly
  important philosophical decision, given our present society’s prevailing morality which
  is based upon materialism and comfort. Keith’s themes of personal responsibility,
  ethical evaluation, upholding people, constant improvement towards our personal goals,
  and building the capacity to do what is right in the context of conflict, are important
  themes and he was able to help many people feel confident in exploring and upholding
  these challenging values in their lives.


  I can say with confidence that Keith helped me learn about responsibility, honor,
  commitment, character, love and how to help people experience joy in their lives even
  though life includes significant emotional pain. One of the ways I learned these traits
  was through first imitating Keith and then figuring out, through trial and error, how to
  best uphold these ideas in my own way. Over my 20 years of experience in NXIVM, I
  noticed that the people closest to Keith improved in in similar ways. Importantly, this
  included being more thoughtful and more compassionate with others.


  All of Keith’s trainings were developed to help create experiences to help people
  examine and influence their own values so they could develop themselves into their
  ideal version of themselves. I didn’t know about DOS until people left the group and
  spoke out against Keith. Given the high stakes in this situation, I do not trust much of
  the information I have about DOS. However, I personally knew many of the women who
  were members and I respected them as people who were dedicated to helping other
  people. I witnessed each of these people help many others and I respected their opinions
  in this regard. As a consequence, I have left the hypothesis open that DOS was an
  experiential process with the purpose of helping people overcome specific issues.
  Obviously, this process went wrong at some point in the execution of the idea, perhaps
  even in the conception of the idea.


  I do not have direct access to Keith’s motives for any of his actions. Indeed, I don’t have
  direct access to all of his actions, his personal struggles, and his effects in the world to

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  help me understand him fully as a person. This is terribly frustrating to me when
  analyzing reports of his actions and his recent conviction. In my evaluation of Keith, I
  have wanted to gather all of the information I could about him. Given your solemn
  decision regarding the extent of his punishment, I imagine you feel similarly. Right now,
  based upon the information available to me, my 20 years of experience knowing Keith,
  and experiencing and observing the results of the trainings he created, I think he can
  still serve a benefit to our society. I hope you find the information I am sharing with you
  helpful in making your decision.

  Sincerely,



  Brandon B. Porter, M.D., Ph.D.




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                                                                                    December 1, 2019

  Honorable Nicholas G. Garaufis
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)


  Dear Your Honor,

  My name is Lucas Roberts and I am writing this letter because my experience of NXIVM,
  Executive Success Programs (ESP), and other companies Keith Raniere created was very
  different from what is being portrayed in the media.

  I was not present in Keith's interactions with his accusers so I can't speak to any of that. I can
  only speak to what I have seen and experienced first-hand, from being in classes he created or
  helped create and from watching him interact with other people. I also have second-hand
  experience of Keith being helpful to me, as one of my coaches was being mentored by Keith
  and many times spoke to Keith about my struggles and challenges. My coach often reported
  back to me with Keith's very helpful advice or perspective.

  I do not believe Keith is a menace to society. My goal with this letter is to share as accurately as
  possible a small slice of the good I have experienced from his efforts in the hopes of righting
  very negatively-biased public opinion, and in the hopes of him getting the lowest appropriate
  sentence permitted under the law.

  I have been an entrepreneur since December, 2008. I own and operate a Vancouver-based IT
  consulting business specializing in Mac and Apple technology. I've trained over 50 consultants
  and have served thousands of clients in several cities. I've had a Mac tips and tutoring YouTube
  channel for the past 4 years and the videos I've made have been watched 1.7 million times.

  In July 2009 I did my first ESP intensive, which was one year after starting my company
  Macinhome. I’ve been either a student or a coach in 30-40 NXIVM and ESP programs. Part of
  the reason I loved (and still love) the NXIVM knowledge base, tools, and methodology is that I
  was able to immediately apply what I was learning, and get wonderful results in my business
  and in all my relationships. I became a coach approximately one year after joining, and became
  a proctor (lead coach) approximately 6 years after joining.

  As a result of my time in NXIVM I received many benefits; too many to list in one letter. Here
  are a few specific examples:
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  Through my time in NXIVM I learned that people become better by making mistakes and
  learning through effort, trial, error, and compassionate analysis of the error. As a result, I
  became more patient and understanding with my consultants if they made mistakes. Their
  performance and morale improved dramatically.

  Through the NXIVM coaching and proctor path, I learned how to be present, compassionate,
  and inquisitive with the students I was coaching. As a result, I became a better listener with my
  clients and in all relationships in my life. I stopped interrupting people and started asking more
  questions and being quiet to truly understand what they were saying. I also learned practical
  and emotional tools for leadership and management. As a result, I became a much better
  leader and mentor to my staff. I became less pushy of my own agenda and became good at
  asking others what they want and helping them get that.

  Through ESP I learned techniques for enjoying work and working on teams, so I felt an increase
  in my enjoyment of my work and a big increase in the warmth and care I feel for all people. My
  relationships with my family improved and I began spending more time with them. I started to
  get consistent 5-star feedback from our clients, as did the consultants I trained.

  Through my time in ESP I corrected a quick descent into the red and got my company repaying
  debts steadily and consistently. It was hard-earned, and it was not easy, but it was thanks to
  what I was learning in NXIVM and ESP and my efforts to apply my learnings.

  I have been so happy with the improvements in myself, in my life, and in my business. I made
  several video testimonials through Keith's various intensives and programs I took over the 9
  years I was involved. They will be somewhere in the video archives. I stand by all of them.

  Best of all, these results have withstood the test of time, and my results continue to improve.

  I was part of the Vancouver commerce and intro team. We were responsible for inviting -- and
  helping our students invite -- new members into our classes and intensives. I personally invited
  many of my friends, family, and contacts and had several of them join. In that commerce team,
  we were extremely well-intended and truly wanted to help people with their lives and their
  goals, and I believed and still believe we were doing a good thing. I stand by this as well. I only
  regret having been too pushy with a few people I invited, and was always thankful to hear their
  feedback so I could apologize and do better.

  Results aside... I looked forward to going to class in Vancouver, and especially in Albany and
  Clifton Park. I looked forward to seeing my friends or making new friends. I genuinely enjoyed --
  and always got a lot out of -- being around the kind, curious, and helpful people of our
  community. Our yearly retreat V-Week was and would still be the thing I look forward to most
  every year.

  I thoroughly enjoyed and got a lot out of seeing Keith speak in front of groups of 30 to 200+
  people, or on video. He was always thoughtful, helpful, insightful, and compassionate with
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  every interaction I observed. Several times he was posed a challenging question and took the
  time to answer it in a gentle and helpful way, tailored to the individual needs of the person
  asking the question. For example, one time in a forum of a couple hundred people I grabbed
  the mic and asked him: as a very “in-my-head” intellectual fellow, how could I get better at
  feeling the emotions and feelings in my body? He recommended that I learn to allow the
  feelings, and get used to some more movement in my body. He recommended that I try
  dancing even if it is me alone in a room dancing like a wounded water buffalo. I found this to be
  both insightful and hilarious because I believe he knew that I would not want other people
  seeing me dance to "learn how to feel." I proceeded to dance every day for 3 years and it has
  been tremendously helpful -- not to mention fun! -- in my life.

  Many of the leaders, entrepreneurs, and mentors in our NXIVM community were people I
  looked up to and wanted to be like "when I grow up." In times of conflict or disagreement, the
  people involved would have open, honest, and responsible conversations about issues to work
  them through face to face and come to productive outcomes. We even had specific coaching
  classes on how to give people feedback and address issues head on, in an honest and
  compassionate manner. For example, I was a coach in an intensive one time and responded
  sharply with a student. A lead coach (proctor) gently took me aside and asked to speak with
  me. They asked me if I was okay and what was going on for me such that I was being reactive
  with the student. They helped me work through it and gain new insight. On the next break
  before lunch, I walked up to the student and apologized for being sharp with them. We bonded
  and had a good chat over some trail mix.

  I believe that the high quality of the people I interacted with in the NXIVM community was an
  effect of Keith's efforts over time. In my experience, his teachings brought good people into the
  organization from the beginning onward. Those people brought in more good people, and I got
  to benefit from all of that.

  I loved what we were learning and the results I've experienced in my life. I truly miss it. Despite
  unpopular opinion I still find the teachings of NXIVM to be timeless, practical, uplifting, and
  tremendously valuable. I wish I could get back to learning and working hard, with the NXIVM
  community helping to hold me accountable and be as joyful as possible along the way.

  Sincerely,




  Lucas Roberts
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  VANESSA SAHAGUN ARELLANO




  Honorable Nicholas G. Garaufis
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Garaufis,

  My Name is Vanessa. I’m the mother of 6-year old triplet boys and a 4-year old son. As you
  might imagine, I love children and I’m passionate about providing an environment where they
  can strive in the world as joyful, loving and compassionate individuals. They love life, playing
  football soccer, being around nature, learning and exploring the world. Our home is filled with
  this kind of energy––day in and day out. My husband and I take a lot of care in providing them
  with an environment of love, joy and exploration. I would say that our family’s highest value is
  the joy and love for humanity. That’s me and my family, in a nut shell.

  I’m writing to you to share my experience of Keith Raniere so that you can get a glimpse of him
  seen through my eyes and based on what I know of him and the appreciation I have for him.

  The first time I knew of him was in 2009 and it was only through the curriculum he created for
  ESP––which was one of the most profound and awakening experiences of my life. At the time, I
  used to run for fitness and I was able to do 11k in 1 hour, no more. During one of the trainings I
  kept on doing my daily workout and thanks to some indirect inner work I did, I was able to do,
  from one day to another, 22k in 2 hours. Just like that. The ESP tools, in my experience, were
  some of the best to help people evaluate limitations and made-up believes that sometimes we
  hold onto without ever checking for veracity.

  Thanks the tools created by Keith, I was able to have some perceptual shifts that helped me
  greatly in my life. For example, I had the opportunity to improve my relationship with my dad,
  ultimately, building with him the father-daughter relationship I had always longed for;
  undoubtedly, this is one of the greatest gifts I got from the NIXVM trainings.

  Another thing that impacted my life deeply was being able to rid myself of a few chronic
  diseases; I grew up with asthma (to the point that I had to carry with me an oxygen tank),
  migraines, gastritis, colitis, you name it… it was until I began taking the programs and working
  on rooted beliefs related to my perception of my body and my health that I was able to leave

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  those chronic diseases as part of my history. It’s been more than 10 years and I haven’t had any
  of those recurrences ever again.

  In my professional life, when I started taking ESP trainings, I had already been working at
  becoming a real-estate broker for more than a year and a half but I was failing miserably. Four
  months after I took the training and I started using the ESP tools, I broke all the records of the
  family real-estate business and after that I broke my own record again… I was earning more
  money than I could have ever imagined.

  I have a very deep gratitude for the curriculum created by Keith, in it, I’ve found wonderful tools
  to build a more meaningful and more joyful experience of life.

  Some of the most meaningful interactions I had with Keith was right after my husband and I
  came back from the first ultrasound of my pregnancy, in which, we discovered we were
  expecting not one, not two but three babies! Can you imagine the love and joy my husband and I
  were experiencing! That was until the doctor said that triplets could be considered a high risk
  pregnancy and he usually recommended to rid my body of one or two fetus to ensure the
  viability of the remaining one. I was in shock. I broke in to tears. All I knew was, I was not
  willing to go with that option without first asking for multiple second opinions. We called a few
  other doctors––reputable doctors in Mexico and some others in USA––to compare opinions,
  perspectives and experiences. I also called an old friend of my mom who had quintuples (my
  age). I wanted to ask her experience of going through her pregnancy, birth and life as a mother of
  five; it was very comforting to me to hear her story, as we have a similar spirit of being
  “fighters”. After speaking with her, I knew I would try my best to keep my children safe and I
  felt confident with my decision of partnering with my body––now more than ever––to let “us”
  go through this journey together and allow nature to run its course. And this is when my
  interactions with Keith began. At that point, I hadn’t had many personal interactions with him
  but he was already a good friend of my husband. When we called him to tell him the news, we
  shared our excitement but also the concerns related to the possible complications with the
  pregnancy. He was very supportive of us and respectful of our decision to let nature run its
  course. He then started researching the latest developments in the field that could help me and
  my children have the best outcome possible. During my pregnancy, every time I walked into our
  community’s volleyball-night, he would share with us enthusiastically the updates he had found
  and we would talk about the weekly developmental stage of the babies. These experiences with
  him gave me a better sense of who he is as a leader, a friend, a human being: dedicated, giving
  and honoring of each human personal decisions.

  There were a few times during my life in Albany that I was struggling with ethical decisions and
  I chose to share them with Keith. I trusted his process and sought out his friendship because he
  would never tell me what to do, instead, he would help me figure what was important to me so
  that I could come up with the best options for me––based on my own values and principles.
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  Another circumstance in which I had the opportunity to get to know Keith from a unique
  perspective was the day his youngest son was born; I saw Keith hold him for hours in his arms;
  it’s hard to understand exactly what was going through his mind but the look in his eyes reflected
  a very loving father, and kind human being.

  Despite the multitude of circumstances, all very different from each other, every single
  experience I have of Keith Raniere is one of a very kind soul who cares deeply about the person
  in front of him. I can not come up with one example where I experienced him acting in a
  disrespectful manner.

  I hope this allows you a glimpse into the kind of person that is my friend.


  Very Truly Yours,




  Vanessa Sahagún
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  Honorable Nicholas G. Garaufis
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                            “Re: United States v Keith Raniere, 18 Cr.204 (NGG)

  Dear your honor,

  I thank you for taking the time to read this letter, my hope is that once you read this you are
  able to grasp a glimpse of how Keith Raniere contributed to my life and how my life is better
  because of the work. His efforts as well as joining DOS was an incredible and meaningful
  experience for me.

  My name is Samantha. I was born and raised in            I grew up in a         community and
  was raised to have a strong work ethic and to value family and community. I graduated from
  the University of Texas at        with a multidisciplinary degree with 3 concentrations:
  Language Development, Language Acquisition, and Social Sciences. I’m fluent in three
  languages. I’ve traveled the world learning about other cultures and customs. For the past 5
  years I have been working in sales and, most recently, financial services.

  I believe that if it was not for the bad media out there, there would be hundreds if not
  thousands of people expressing how they feel positively about Keith and how he has helped
  them in their lives. I first met Keith through an ESP 5-Day course. This course alone was able to
  provide some peace and incredible tools to face my life. Since then I began the journey to craft
  a relationship with my father. Whereas before I had no relationship with him. I felt as if he was
  the reason for all my misfortune. I blamed him. Today I can say that I no longer feel this way, I
  was able to accept him and feel a sense of compassion for he was only doing his best as a father
  and always wanted the best for me. I knew that his ways were perhaps not the best, but it was
  the only way he knew. Today, I will be forever grateful as the last 6 years of my life I was able to
  craft a relationship with my father. I was able to listen to him all of his endless ideas and
  dreams. I was able to relate with him and look forward to spending time with him before he
  died unexpectedly this summer. If it wasn’t for ESP and Keith’s creation, I would have never
  been able to develop a loving relationship with my father. Imagine if the American people
  would have the same opportunity that I did, because of the ESP tools provided.

  These past 3 years have been some of the most difficult of my life. I’ve felt scared to speak my
  truth. I’ve experienced the hate towards my beliefs and have felt pressured to change my
  experience of my truth. It’s easy to fall into conclusions and pick sides when the amount of
  destruction and hate towards anyone who upheld and believed in ESP was overwhelming.
  However, Keith’s case needs to be balanced. It is my belief that a small group of people has
  successfully inserted fear and hate into the minds of many with the intention to deceive and to
  gain for their personal agenda by destroying Keith’s life and creations.
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  I’ve taken many of Keith’s curriculum. This includes the full 16-day, SOP Complete, Jness Tracks,
  Mobius, and attended v-week events. I was a 2-stripe coach in ESP. I was also the Personal
  Assistant to the president of the company, worked at the corporate administration office for
  ESP, as well as a Field Trainer Assistant to the Regional builder of the largest organization in
  ESP.

  Towards the end of this ESP training I felt complete and joyful. Instead of focusing on what I
  could not change, I could now focus on how to better myself to be the kind of person I wanted
  to see in the world. I felt like I could have the life I wanted and was excited about what the
  future could bring. This alone saved me thousands of dollars.

  A few days later after taking the course, I was offered a job to help care for a dear friend of the
  community. She was one of the highest ranks in ESP and was unfortunately dying of a brain
  tumor. As a bright energetic young woman, I was pleased to be able to take care for her. I knew
  it was an honor to be in her presence and it would be a growing experience. A few days into the
  job, Keith began to visit her. This was when I first met Keith in person. I could tell Keith cared
  deeply about this woman. He was doing what he could to be able to help her during her last
  days of her life. He would visit on a daily basis and check-in consistently to see how she was
  doing. When she passed, I was left with a very heavy heart. I had given her my best. I never
  knew you could love someone so deeply in such little time. Nor was I aware it would hurt so
  deeply. Her absence was a void I will never be able to explain. Her essence was so unique. I
  learned we all have our own unique way of imprinting people with our essence. She impacted
  my life even in such a short period of time. She left me full of love and gratitude. After her
  passing, Keith help me learn to share my grief and connected with me and the shared
  relationship with her. He made sure I was doing okay. He was one of the few who truly was able
  to understand my pain and was always caring.

  During that time, I was invited to play volleyball with the community. After a while I took on a
  leadership role in building the Volleyball B-Team. It was my understanding that the A-team had
  been playing consistently three times a week for a total of 30 games weekly, for the past 10 - 15
  years. Keith inspired consistency and upheld his commitment no matter what was happening or
  how cold it might be outside during the upstate New York winters. Showing up for your word
  was the most important thing! I aspired to be able to do this and help others too. I had no idea
  showing up for volleyball consistently could impact my life dramatically. This was the first
  experience in which I learned I could teach myself something. Before, I believed one was either
  born with an ability or not! I didn’t know I could, through discipline, build my skills and inspire
  others to do so too. I had no idea I was capable of leading and touching the lives of my team by
  building community. I was inspired by adding more value to our community and allowing
  people to become more alive. Week after week I saw Keith always show up to volleyball; never
  failed to be there and always was joking and playful with the community. He always had a sense
  of presence in the room.
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  There came a point when I was seeking for more in life. I was so tired of feeling like I could do
  more but didn’t know how. I knew I wanted to be stronger and create a more meaningful
  existence. I wanted to make a difference. I knew I was filled with untouched potential and I
  didn’t know how to access it. I knew I held myself back and wanted a solution and that is when I
  was invited to join The Vow.

  Through this experience I learned we are all in some way enslaved to: how we feel, what
  society thinks of us, our own fear, our pride and so much more. We can confuse who we are
  with what we do. However, through the Vow, I learned and experienced that my “self” is
  separate from all these things. I learned that my Master was simply my teacher who at all times
  was guiding me to choose the most loving choice and helped me see when I was not choosing
  the most loving choice. I learned that love is not all about feeling good and getting what you
  want. Instead, love is about doing what is right, and often it is the hardest thing to do.

  Love can come in a form of pain, like when you lose someone you love deeply. You feel pain
  over their loss yet feel a sense of joy and gratitude knowing they were part of your journey.
  Through this experience I found true freedom. Not the freedom to carelessly do whatever you
  want and have no responsibility, instead, I felt a true internal freedom. It’s like when a prisoner
  lives a meaningful existence despite their circumstances. No matter what my Master said I was
  able to choose how I wanted to react to the circumstance. I was able to choose how I wanted to
  feel and what I wanted to experience. Currently, I no longer have to choose to be enslaved to
  fear, I can choose love instead. The Vow allowed me to define what I cared for the most and
  commit to it for life: to uphold love and my word above all things.

  I do not think I would have been able to have this experience if it was not for my commitment;
  a vow to myself. I know many may not comprehend what I intend to describe or may even
  disagree with me, but my intention is not to have you agree with me, but simply to share my
  truth. I believe Keith did exceptional things. Unlike many, Keith lived his life to uphold his
  principles and values. He helped advance the human race. He helped me define and discover
  my true sense of self. He taught me how to think and understand what it means to uphold a
  principle, to use it as a map to guide your decisions in order to be the director of your own life.
  My life is better today because of Keith Raniere, his concepts and teachings. I’m no longer stuck
  and holding myself back because of my confusion. Thanks to him, I live a fuller more joyful
  existence.

  Your Honor I thank you again for taking this time to read my letter, and greatly respect your
  position and I understand this is not an easy decision-making process. I urge you to give Keith
  the most lenient and humanitarian sentence possible.

  Kindly,
  Samantha
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                                                                    Leon, Guanajuato November 15th, 2019.



  Honorable Nicholas G. Garaufis

  United States District Judge

  Eastern District of New York

  225 Cadman Plaza East

  Brooklyn, New York 11201



  Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)



  Dear Judge Garaufis



  Alberto Sanchez Torres, born in Mexico City, now a day living in Leon, Guanajuato, married with four
  children and four grandsons, working as a fire protection profesional, write this Letter in Regards of my
  experience with Mr. Keith Raniere and NXIVM.



  I was introduced to ESP one of the NXIVM programs in 2006, I was invited by a friend of a beloved friend, I
  was in a very bad economical situation, I broke down a company and lose all my savings and material
  wealth.

  I do remember, how I was introduced and invited to the program, “this is a unique opportunity for you to
  discover options, options that you cannot see, even though there are many.

  I decided to take the first five days of the training, I realized that what he said was not only true, but also
  very limited, I discover a large range of possibilities but also I was introduced to recognize my values, the
  things I do care, a community and a great group of people called coaches.

  I understood honor, loyalty, value, work, good and bad, family, humanity, self-teem, that is what it
  represents NXIVM for me at that time.

  I used to talk about the changes I perceived with the program and I come out from my financial problems,
  found a new company and pay my debts. It took me two years to tur my situation around and six years to
  pay my debts in full.

  I do have many friends with people who used to be just a supplier, you have no background of Mexico,
  but reality is, we are not a very honorable society. Most of the people who has a debt avoid or try to avoid
  paying it.

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  In 2012 one of my daughters ask me to joint the ESP program, when I asked why, her answer was, you
  found something that helps you, what if I found something for myself?



  Laurita (my daughter) took her first five days and I was invited to come back and finish the program which
  is 16 days long.



  When I come back, many things from my past had been change, I was not aware of that, but I realized as
  days and training passed by, I was more HUMAN, more emphatic, joyful and caring.

  I enjoy the program and enrolled myself to different platforms in NXIVM, ESP; SOP, SOP Complete, Jness,
  Ethicist, but what makes a milestone was VWEEK.

  I invited my wife, two of my daughters and my grandson to come, there is no place in the world in which
  humans support and help rise one to each other. In such a joyful, compassionate, responsible and
  honorable way.

  My family and myself enjoyed it in a way that there are no words to describe, people from different
  backgrounds, economic level, social and educational, all together sharing the concept of Mr. Raniere,
  make the world a better place that the one you found when you come.

  Everyone is taking care of everyone, children’s playing and working together, experiencing children from
  different languages, cultures and religions, all together with only one focus, to be HUMANs.

  My wife and my two daughters take the ESP Training, in my company mu business associates take the ESP
  training as well as many of my friends and brothers and sisters.

  I invited many of my family and friends to come, not with words, but with my own behavior and success.
  What I found working in ESP and the NXIVM platforms was honor, character, love, compassion, empathy,
  caring, self-teem and community.

  IT was very hard to lose that with all the media perspective; they speak from something I am not related
  to.

  I become a coach in 2015 in ESP, Jness and SOP and work with my self-development which affects my
  company, my family and social and business relation in a very positive way.

  I experience the loss of community the closeness to many of my friends who were affected socially and
  economically with all the media disclosure, people who has no relation with NXIVM or ESP speaks in a
  very dishonorable way about us, without any knowledge, they destroy people names and credibility.



  I think NXIVM represents what I experienced in my relationship with Mr. Keith Raniere and his trainings,
  programs and ideals.

  I experienced Mr. Raniere as compassionate, caring, loving person, a man of character and honor, that
  bring his leadership by the example, always looking how he caused and carefully handling the situations.
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  He used to listen people problems and look for the best way to solve it, always there is a price for any
  decision, his advice always look for the best way and the best result possible.

  I experienced him as a leader, the ideal leader who makes clear that it is you who choose, this is you and
  your values who identified yourself with your leader and that societies progress when people share values.

  It is my experience most of the people in NXIVM share values, values that look for the preservation of
  progress, community and have as the highest value the human life and the free will.

  I do expect that this letter can be read, and I do not have problem If you want to make it public.

  Best regards.




  Alberto Sánchez t.
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   León Guanajuato a Lunes 16 de diciembre del 2019.

   Honorable Nicholas G. Garaufis
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201
   Re: United States v. Keith Raniere, 18 Cr. 204

   Querido juez Garaufis:
   Me presento, mi nombre es Patricia Sánchez Méndez, soy una mujer mexicana y ejerzo la
   carrera de enfermería y obstetricia.
   Conocí el programa de ESP hace 8 años, en ese entonces era madre soltera y empezaba a
   estudiar mi licenciatura; dado que había sido diagnosticada con una enfermedad que podía
   llegar a ser terminal, mi sentido de bienestar propio era muy bajo, tenía muy baja
   autoestima. En ese entonces mi padre había tomado el programa y gracias a éste había
   salido de una cuestión financiera sumamente delicada. Para mí tener la oportunidad de
   entrar al programa fue una de las mejores cosas que me pudo pasar, me ayudó a ver más
   opciones y sobre todo a sentirme mejor conmigo misma, tanto así que gracias al programa
   pude cumplir las metas que tenía en ese momento y más;al día de hoy y gracias al
   programa, puedo decir que mi vida es plena en el ámbito emocional, soy más fuerte y
   equilibrada, algo que en estos tiempos es muy difícil de encontrar. Gracias a ello hoy tengo
   una carrera, una pareja estable que concuerda con mis valores y sobre todo una salud
   emocional que no hubiera podido tener de no haber sido por el programa. Tan
   comprometida estaba con el programa que por ello cuando se abrió el programa de la
   Universidad de ESP no dudé ni un momento en tomarlo y gracias a ello pude seguir
   creciendo en el ámbito emocional y profesional. Tuve el gusto de conocer a Keith en
   persona durante esa estancia en Albany hace 2 años y para mí la primera impresión y la
   que siempre tendré es de una persona humanista, amable, gentil y entregada al bienestar
   humano;×pero sobre todo para mi, Keith era un símbolo de esperanza, en el programa
   veíamos como evitar la decadencia de la humanidad, como buscar la forma de evitar tanta
   violencia, corrupción y males que aquejan a nuestra sociedad. Keith trabajaba con nosotros
   junto con todo el equipo para que buscáramos la forma de dejar un mundo mejor a nuestros
   hijos y a nosotros mismos; por eso cuando el programa se vino abajo fue una de las cosas
   más dolorosas y más tristes que ha pasado en mi vida y sobre todo saber que Keith esta en
   esa situación es algo que me llena de mucho dolor, es como estar matando de las pocas
   velas de esperanza que tenemos como humanidad.
   Agradezco su tiempo y atención para leer mi carta buen día.




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    León Guanajuato, Monday, December 16, 2019



    Honorable Nicholas G. Garaufis
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201
    Re: United States v. Keith Raniere, 18 Cr. 204

    Dear Judge Garaufis:

    I introduce myself, my name is Patricia Sánchez Méndez, I am a Mexican woman and I practice a
    nursing and midwifery career.
    I met the ESP program 8 years ago, at that time I was a single mother and I was starting to study my
    degree; Since I had been diagnosed with a potentially terminal illness, my sense of self-well-being
    was very low, I had very low self-esteem.
    At that time my father had taken the program and thanks to it he had emerged from an extremely
    delicate financial issue. For me, having the opportunity to enter the program was one of the best
    things that could happen to me, it helped me to see more options and above all to feel better about
    myself, so much so that thanks to the program I was able to meet the goals I had at that time and
    more; Today and thanks to the program, I can say that my life is emotionally full, I am stronger and
    more balanced, something that in these times is very difficult to find. Thanks to this, today I have a
    career, a stable couple that agrees with my values and above all an emotional health that I could
    not have had if it had not been for the program. I was so committed to the program that for this
    reason when the ESP University program was opened I did not hesitate for a moment to take it and
    thanks to that I was able to continue growing emotionally and professionally. I had the pleasure of
    meeting Keith in person during that stay in Albany 2 years ago and for me the first impression and
    the one I will always have is of a humanistic, kind, gentle person and dedicated to human well-being;
    But above all for me, Keith was a symbol of hope, in the program we saw how to avoid the decline
    of humanity, how to find a way to avoid so much violence, corruption and evils that afflict our
    society. Keith worked with us together with the whole team to find a way to leave a better world
    for our children and ourselves; That's why when the program fell apart it was one of the most painful
    and saddest things that has happened in my life and, above all, knowing that Keith is in that situation
    is something that fills me with a lot of pain, it is like killing the few candles of hope that we have as
    humanity.
    I appreciate your time and attention to read my letter, have a good day.


      [Illegible signature]
    Patricia Sánchez Mendez
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  Honorable Nicholas G. Garaufis
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201
  Re: United States v. Keith Raniere, 18 Cr. 204 (NGG)



  October 9, 2020



  Dear Your Honor,

  My name is Danny Trutmann, I was born and raised in Guatemala. I am 46 years old and have lived in
  Miami since 1999. I have a beautiful relationship with a woman I met when I was 15 and I am the stepdad
  to her now teenage kids. Together with her, we built a business that currently employs more than 30
  people.

  I am writing this letter because I have a different experience of Keith and NXIVM than that which has been
  described and said of him in the media and during his trial.

  My experience of Keith is that he is caring, mindful, concerned for the wellbeing of others, and honorable.
  Actually, one of the reasons why I am writing this letter is because to this day I have not heard or read
  anything dishonorable that Keith has said or written about any of the people that have spoken bad about
  him and/or lied about him. I consider that he has conducted himself with honor and dignity throughout
  the entire trial process and media defamation. Very bad things have been said about him, and very bad
  things have been done and said about people he cares very deeply about.

  What I know of Keith is that he created a program that helped thousands of people have a better
  experience of life and be able to achieve more of what they want. His technology helped people overcome
  lifelong fears and personal limitations. The program even helped people with Tourettes managed their
  condition. His program helped me become a better person, leader, husband, stepfather, friend, son, and
  brother.

  He created a beautiful program for children, a peaceful non-violent movement in Mexico, and an ethical
  media company, to name a few of the projects I know he was working on. All the good he has created
  has either being distorted or blocked from the general knowledge. I read on the trial transcript of May 9th
  pg 511 Mr. Vicente describing ESP’s mission statement as a “lie”, as evil, as a veneer that covers horrible
  evil. This is simply not what I experienced, nor what I think many of the 17,000 people who took the
  program experienced. Also, before turning against Keith, I heard Mr. Vicente say multiple times that he
  decided to marry his current wife after taking Mobius, one of the trainings Keith created, and that he was
  so grateful to Keith for creating the training.

  It seems that some people have gone to great lengths to portray him as the worst person there is and
  suppress anyone with the desire to speak in favor of Keith.


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  Reading what has been said about Keith, both in the media and during his trial, I can understand why the
  animosity towards him. Yet, there is another side to this story.

  I took my first ESP training in 2009 and took many other trainings after that. Through these trainings, I
  learned tools that helped me grow my business, be more loving to my wife and her two kids, have a better
  relationship with my mother, father, and siblings, and most importantly, I reconnect with my dreams and
  passions.

  Is Your Honor familiar with the poem “IF” by Rudyard Kipling?

  I remember several years ago, during v-week, this poem was read to describe Keith’s character. Today
  more than ever, I consider this poem to be most fitting to describe his person and character.



  It is a beautiful poem and with your permission, I would like to share it with you, Your Honor.

                                                      IF

                                If you can keep your head when all about you
                                     Are losing theirs and blaming it on you,
                             If you can trust yourself when all men doubt you,
                                  But make allowance for their doubting too;
                                  If you can wait and not be tired by waiting,
                                      Or being lied about, don’t deal in lies,
                                   Or being hated, don’t give way to hating,
                               And yet don’t look too good, nor talk too wise:

                          If you can dream—and not make dreams your master;
                            If you can think—and not make thoughts your aim;
                                  If you can meet with Triumph and Disaster
                                And treat those two impostors just the same;
                               If you can bear to hear the truth you’ve spoken
                                  Twisted by knaves to make a trap for fools,
                             Or watch the things you gave your life to, broken,
                              And stoop and build ’em up with worn-out tools:

                               If you can make one heap of all your winnings
                                   And risk it on one turn of pitch-and-toss,
                                And lose, and start again at your beginnings
                                 And never breathe a word about your loss;
                             If you can force your heart and nerve and sinew
                                 To serve your turn long after they are gone,
                                And so hold on when there is nothing in you
                              Except the Will which says to them: ‘Hold on!’

                             If you can talk with crowds and keep your virtue,
                             Or walk with Kings—nor lose the common touch,
                               If neither foes nor loving friends can hurt you,
                               If all men count with you, but none too much;
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                                  If you can fill the unforgiving minute
                                With sixty seconds’ worth of distance run,
                               Yours is the Earth and everything that’s in it,
                               And—which is more—you’ll be a Man, my son!

  Keith has been able to keep his head when many have lost theirs and are blaming him for it. He has been
  lied about and has not dealt in the lies. He is being hated and not given into hating. The words he has
  spoken have been twisted and his life’s work has been stollen and destroyed.

  I remember about 12 years ago, the first time I was at a forum were Keith was answering question form
  the people present (forums were when we would gather and ask Keith questions.), I think Keith had been
  answering question for two hours, when a little girl, I think about 8 years old ask him why he had created
  ESP. I do not remember what he said, what I remember though, was the way he spoke to the little girl.
  He spoke to her as if she were the most important person in the room of more than 300 adults. He took
  her question, listened to her attentively and then answered her in a way I had never seen someone speak
  to a child. He spoke to her with so much respect and recognition one would think he was addressing the
  Queen of England. It is one of the most beautiful things I have seen and experienced in my life.

  Your honor, my experience of Keith is that he is a good man, and there is another side to the way the
  media and the people against Keith are portraying him. As unconventional and controversial his personal
  life maybe, I do not believe that he has had bad intent in his actions.



  Thank you for your time and consideration in reading my letter and I hope you consider it positively when
  evaluating Keith’s future.



  Respectfully




  Danny Trutmann
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